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       EXHIBIT B
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          SUPREME                 COURT              OF THE               STATE          OF NEW             YORK
          COUNTY                OF NEW               YORK
          ------------------------------------------------------------------X

          GREEN              STAR         ENERGY                 SOLUTIONS,                    LLC,
                                                                                                                                     Index        No.:

                                                                                     Plaintiff,
                                                                                                                                     SUMMONS

                                        -against-                                                                                    The       Plaintiff          designates                    New       York

                                                                                                                                     County            as the         place           of trial.

          EDISON             PROPERTIES,                        LLC,       EDISON
          CONSTRUCTION                             MANAGEMENT,                           LLC,         UA                             Venue         lies        in New               York         County
          BUILDERS                   CORP.,         PASQUALE                    SURIANO,                                             because            at least           one        of     the    Defendants
          and     JOE        PIPIA,                                                                                                  resides           there      and          because             a
                                                                                                                                     substantial               part       of the           conduct         in the

                                                                                     Defendants.                                     complaint               occurred                 there.
          ------------------------------------------------------------------X




          To    The      Above          Named            Defendants:


                         YOU          ARE         HEREBY                  SUMMONED                      to answer              the      complaint               in this             action         and    to        serve
          a copy        of    your      answer,           or,    if the     complaint             is not        served        with       this      summons,                    to     serve        a notice           of

          appearance,              on the         Plaintiff's          Attorney(s)             within       20        days      after      the     service            of       this        summons,
          exclusive           of the       day      of   service          (or   within         30 days          after     the        service           is complete                   if this       summons                  is
          not    personally            delivered            to you         within        the    State      of    New          York);         and        in     case       of     your          failure         to
          appear        or answer,            judgment             will     be taken           against          you      by    default           for     the     relief          demanded                in the

          complaint.


          Dated:        New        York,         New        York

                         February           26,      2021


          Defendants'
                                     addresses:


          EDISON             PROPERTIES,                        LLC
          110      EDISON             PLACE,             SUITE            300

          NEWARK,                 NEW          JERSEY              07102


          EDISON             CONSTRUCTION                              MANAGEMENT,                          LLC
          ATTENTION:                     GARY            DORIN
          110      EDISON             PLACE,             SUITE            300

          NEWARK,                 NEW          JERSEY              07102




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          UA BUILDERS CORP.
          5 WEST 37TH STREET
          12TH FLOOR
          NEW YORK, NEW YORK 10018

          PASQUALE SURIANO
          4 WONDERVIEW WAY
          LEBANON, NJ 08833

          JOE PIPIA
          188 LUDLOW STREET, APT. 3A
          NEW YORK, NY 10002




                                             Ralph Gaboury
                                             Laleh Hawa
                                             COX PADMORE SKOLNIK &
                                             SHAKARCHY LLP

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          SUPREME                    COURT               OF THE           STATE               OF NEW              YORK
          COUNTY                OF NEW                   YORK
          ------------------------------------------------------------------------X

          GREEN               STAR           ENERGY                SOLUTIONS,                     LLC,


                                                                                         Plaintiff,                                                       COMPLAINT

                                            -against-

                                                                                                                                                          Index         No.:
          EDISON              PROPERTIES,                        LLC,       EDISON
          CONSTRUCTION                               MANAGEMENT,                              LLC,       UA
          BUILDERS                    CORP.,          PASQUALE                         SURIANO,
          and     JOE         PIPIA,


                                                                                         Defendants.
          ------------------------------------------------------------------------X




                         The      Plaintiff,             Green       Star       Energy          Solutions,             LLC,      through            its    attorneys,                Cox      Padmore


          Skolnik          & Shakarchy                    LLP,      complaining                 of the        Defendants,             Edison              Properties,                LLC,      Edison


          Construction                 Management,                  LLC,          UA      Builders            Corp.,        Pasquale         Suriano               and     Joe        Pipia



         respectfully                shows          to this       Court         and     alleges         and      follows:


                                                                  PARTIES                JURISDICTION,                          AND         VENUE

                                                                                                                                            ("Plaintiff"
                         1.                 Plaintiff,         Green            Star     Energy            Solutions,           LLC                                      or      "Green          Star")       is   a


          limited         liability               company          organized              and         existing         under        the     laws           of     the     State         of     Connecticut,


          where        it has         its    principal           place      of business               located        in Fairfield          County,                Connecticut.


                         2.                 Upon         information              and     belief,        defendant             Edison        Properties,                 LLC           ("EP      LLC")        is a


          limited        liability            company             organized             and     existing          under       the   laws       of     the       State         of New          Jersey.


                         3.                 Upon         information              and      belief,         defendant            Edison         Construction                      Management,               LLC


          ("ECM           LLC")              is    a limited        liability           company             organized           and       existing              under          the    laws      of   the   State


          of New          York.




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                 4.      Upon information and belief, defendant UA Builders Corp (“UA”) is a

          corporation organized and existing under the laws of the State of New York.

                 5.      Upon information and belief, defendant Pasquale Suriano (“Suriano”) is an

          individual domiciled in the State of New Jersey.

                 6.      Upon information and belief, defendant Joe Pipia (“Pipia”) is an individual

          domiciled in the State of York.

                 7.      Defendants are subject to the personal jurisdiction of this Court because they are

          residents of the State of New York and/or are domiciled in the State of New York; and/or have

          conducted, engaged in and carried out business activities within the State of New York; and/or

          are subject to the personal jurisdiction of this Court pursuant to the New York long-arm statute,

          New York Civil Practice Law and Rules (“CPLR”) § 302, in that they have: (i) transacted

          business within the State of New York, (ii) committed tortious acts within the State of New York

          causing damage and harm in the State of New York, or (iii) engaged in tortious conduct outside

          of New York and (A) expected or should have expected the acts to have consequences in New

          York and derived substantial revenue from interstate or international commerce or (B) regularly

          solicited or did business in New York or regularly engaged in a persistent course of conduct in

          New York or derived substantial revenue from services rendered in New York, causing damage

          and harm in the State of New York.

                 8.      Venue is proper pursuant to CPLR § 503 because: (a) at least one of the parties

          resided in New York County when this action commenced; and/or (b) a substantial part of the

          events or omissions giving rise to the claims herein occurred in New York County.

                                            FACTUAL ALLEGATIONS

                 9.      This action concerns two construction projects (collectively the “Construction

          Projects”) where Green Star was hired as a subcontractor in connection with properties owned
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          and or managed by defendants EP LLC and ECM LLC (together the “Edison Defendants” or

          “Edison”) located at:

                 110 Edison Place, Newark, NJ (the “Newark Property”), and

                 543 West 43rd Street, New York City (the “New York Property”)

         (together the “Edison Properties”).

                 10.     Green Star specializes in energy efficiency audits and in designing and installing

         high-efficiency HVAC systems using the latest technology to drive down energy use.

                 11.     The Edison Defendants began a relationship with Green Star sometime in 2018

          and directed their general contractors involved in the Construction Projects to hire Green Star as

          the HVAC subcontractor for each project.

                 12.     At all relevant times, defendant Pasquale Suriano was employed by Edison and

          spoke and acted on behalf of Edison with apparent and/or actual authority to speak and act on

          Edison’s behalf with respect to construction projects in New York and New Jersey.

                 13.     At all relevant times, defendant Joe Pipia was employed by Edison and spoke and

          acted on behalf of Edison with apparent and/or actual authority to speak and act on Edison’s

          behalf with respect to construction projects in New York and New Jersey.

          110 Edison Place, Newark, NJ

                 14.     In June of 2018, the Edison Defendants contacted Green Star and requested that

          they act as the HVAC subcontractor on the renovation of the 30,000 square foot Newark

          Property located at 110 Edison Place, Newark, NJ.           Edison wanted Green Star as the

          subcontractor on the project because the HVAC design and engineering proposed by Green Star

          offered deep cost savings and installation advantages for the Edison Defendants’ complicated

          space which was to be their new headquarters.



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                 15.    Green Star initially refused to take on the project, because its management was

          concerned that in the event payments were delayed or slow in arriving, Green Star would suffer

          significant cash-flow problems. This was due to the fact that Green Star is a boutique company

          with limited financial resources, and had at that time already taken on $7 million worth of other

          projects; thus it would be unable to fund the day-to-day operations of any additional work absent

          timely progress payments.

                 16.    However, management at Edison, specifically Pasquale Suriano, insisted that

         Green Star take on the project given that Green Star was already doing three other jobs for

         Edison, and that to maintain its status as Edison’s “preferred” HVAC subcontractor, Green Star

         would have to take on the job.

                 17.    On or about July 16, 2018, Joe Novella, the CEO of Green Star, had a discussion

         with Mr. Suriano in which Mr. Novella communicated to Mr. Suriano that Green Star was

         already committed to other projects and that Green Star would only take on the job if Green Star

         were paid every month without fail. In his discussion with Mr. Suriano, he was emphatic that

         Green Star’s cash flow was so tight that it would be highly detrimental to Green Star if it were

         not paid timely every single month.

                 18.    During that conversation, Mr. Suriano assured Mr. Novella that Green Star would

         be paid timely without fail, if Green Star became the subcontractor on the project to renovate the

         Newark Property. As discussed below, it is now clear that Mr. Suriano’s statements in this

         regard were false, upon information and belief intentionally false.

                 19.    In direct reliance on Mr. Suriano’s assurances that Green Star would get paid

         timely on a monthly basis, on or about September 18, 2018, Green Star entered into a contract

         with Hollister Construction Services LLC (“Hollister”) for Green Star to act as HVAC



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          subcontractor in connection with the general construction contract Hollister had entered into with

          defendants EP LLC and/or ECM LLC, for the renovation of the Newark Property.

                 20.     Despite Mr. Suriano’s assurances that Green Star would get paid timely on a

          monthly basis, Green Star was never paid in a timely manner, including a four-month period

          between progress payments from October of 2018 through February of 2019.

                 21.     Due to various problems with management of the renovation project by Hollister,

          including multiple permitting issues, the project dragged on into 2019 despite initially having a

          target completion date for the end of 2018.

                 22.     Upon information and belief, due to the Edison Defendants’ dissatisfaction with

          Hollister’s handling of the project, in or about March of 2019, the Edison Defendants took over

          direct management of the project from Hollister, with an employee of the Edison Defendants

          named Robert Gerardo taking over the duties of managing the renovation construction.

          Although Hollister was still technically the general contractor of record, and still had workers

          and subcontractors on site, the day-to-day management of the project was taken over directly by

          the Edison Defendants.

                 23.     Through March 13, 2019, progress payments were made to Green Star by

          Hollister, totaling approximately $593,895.73.

                 24.     However, on April 2, 2019, EP LLC made payment directly to Green Star in the

          amount of $156,275.57.

                 25.     In April and May of 2019, Edison was putting tremendous pressure on Green Star

          to complete the HVAC work on the project.

                 26.     However, Green Star’s ability to complete the work was hampered by delays

          caused by Edison, Hollister and other subcontractors.



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                 27.     In addition, upon information and belief, Edison, by its project manager, Robert

          Gerardo, intentionally hindered Green Star’s progress in an attempt to sabotage Green Star’s

          ability to adhere to the project schedule, by withholding critical information and limiting access

          to the work site.

                 28.      Despite these impediments, in the final month Green Star maintained a full crew

          and effectively completed the contracted work prior to the “move-in” date of June 1, 2019.

                 29.     All that remained as of June 1, 2019, was minor work related to ventilation

          equipment – which work had been pushed back due to delays caused by Hollister and other

          subcontractors on the project, and upon information and belief, the intentional actions of Edison

          discussed above.

                 30.     On, May 30, 2019, Green Star’s final scheduled work day prior to building

          occupancy, Green Star had only to finish installing two fire dampers to complete all work it had

          been subcontracted to do, with the exception of potential warranty work.

                 31.     Despite this, Mr. Suriano on behalf of Edison emailed to Green Star on May 30,

          2019, a message threatening termination. (Copy attached as Exhibit A.) The message – which

         did not constitute formal notice of termination under the contract – was false, upon information

         and belief intentionally false, as it did not have any factual basis with respect to the status of the

         project at that time and the work Green Star had performed. As alluded to in Mr. Suriano’s

         email, Green Star was then locked-out of the project site, in breach of Green Star’s subcontract

         with Hollister, making it impossible for Green Star to finish work or to perform any warranty

         work as provided for under the subcontract.




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                 32.     Further, Green Star had no prior formal notice that it would be “terminated” and

          was not provided an opportunity to address any deficiencies, as was required under its

          subcontract with Hollister.

                 33.     As of May 30, 2019, Green Star’s work under the project was essentially

          complete and the heating and AC equipment were in full operation, with only minor “punch list”

          work remaining. In subsequent false emails, upon information and belief intentionally false, Mr.

          Suriano stated that Green Star had “abandoned” the job – when in fact Green Star had been

          locked-out by Edison – and that Green Star owed “back charges” for corrective work in excess of

          the remaining balance owed on Green Star’s final invoice. (Copies attached as Exhibit B.) No

          further payments were ever made to Green Star.

                 34.     Despite Green Star having submitted all required paperwork and backup

          documentation, Green Star’s final invoice on the contract was never paid by either Hollister or

          the Edison Defendants, leaving a balance due and owing of $220,060.58.

                 35.     To further its predatory practices against Green Star, in the months prior to

          completion, several of Green Star’s on-site technicians were solicited for employment directly by

          the Edison Defendants by their employees Robert Gerardo, Joe Pipia, and Brian Harvey, in an

          attempt to cut out Green Star from the project and to complete the project with employees hired

          directly by Edison.

                 36.     As a result of these solicitations, Edison successfully recruited Green Star’s lead

          technician Domingus Guttierez whose responsibilities on the project (and Green Star’s other

          projects) was the final commissioning of the HVAC system, which entails the crucially

          important final phase where all of the installed HVAC equipment is programmed and configured

          to work together properly prior to start-up and final delivery.



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                 37.     On or about June 14, 2019, in an electronic mail with Joe Novella of Green Star,

          Pasquale Suriano stated falsely that Edison had not in fact hired Domingus Guttierez (copy

          attached as Exhibit C); upon information and belief this statement was intentionally false.

                 38.     Upon information and belief, the Edison Defendants, Mr. Suriano, Mr. Gerardo

          and Mr. Pipia conspired to defraud Green Star of the final amount due, by fraudulently inducing

          Green Star to sign the contract with Hollister and to work on the Newark Property project with

         the prior intentions of withholding payments from Green Star and the end of its work and

          without basis “terminating” Green Star from the project.        Upon information and belief, in

          furtherance of this fraudulent inducement, these individuals conspired to deliberately sabotage

          Green Star’s work on the project, in order to fabricate an excuse to “terminate” Green Star at the

          very end of the project and in conjunction with the fraudulent inducement to Green Star to enter

          into the project, to terminate Green Star and to withhold payment.

                 39.     Green Star made several requests to both Hollister and Edison for payment of its

          final invoice. In email correspondence between Mr. Novella of Green Star and Mr. Suriano of

         Edison, Mr. Suriano stated that Edison was refusing to make the final payment.

                 40.     At no time did Edison provide any documentary or other evidence to Green Star

         as to the reasons why Edison refused to make the final payment, nor did Edison or Hollister ever

         provide Green Star with any formal written notice of deficiency or opportunity to cure under the

          subcontract, despite Mr. Suriano’s claims that Edison would provide such backup to Green Star.

                 41.     Nor was Green Star given any opportunity to cure or conduct corrective work as

          permitted under its contract with Hollister and standard industry practice.

                 42.     Upon information and belief the Edison Defendants and Mr. Suriano

          intentionally lied to and misled Mr. Novella of Green Star in connection with Edison’s promises



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          to ensure timely payments during the project, which were not forthcoming during the project, nor

          at the completion of the project.

                 43.     At all relevant times, Mr. Suriano and Edison were well aware of the financial

         distress Green Star was under as a result of Edison’s failure to make timely progress payments as

         promised, such that they knew that withholding payments would cause severe and irreparable

         damage to Green Star’s operations and reputation. (Copies of emails attached hereto as Exhibit

         D.)

                 44.     Upon information and belief, Mr. Suriano of Edison intentionally lied to Mr.

         Novella of Green Star with respect to the reasons why Edison was refusing to make the final

         payment to Green Star.

                 45.     Upon information and belief, the foregoing false statements relating to the

         Newark Property, in addition to being part of Edison’s plan not to pay Green Star with respect to

         the Newark Property, were part and parcel of the fraud with respect to the New York Property in

         that they were part of a pre-conceived plan and course of action designed to cripple Green Star

         and deprive it of adequate resources to continue its business and to vindicate its rights against

         Edison.

                 46.     Upon information and belief, in late 2019, Hollister filed for protection under

         Chapter 11 of the bankruptcy laws of the United States and is currently in bankruptcy

         proceedings in the United States Bankruptcy Court for District of New Jersey.

         543 West 43rd Street

                 47.     On or about November 30, 2018, Green Star entered into a contract with

         defendant UA to act as the HVAC subcontractor in connection with UA’s general contract with

         Edison for the renovation of the New York Property located at 543 West 43rd Street, New York,

         NY.
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                 48.     Despite Green Star having completed all requirements under its contract with UA

          with respect to the work it conducted on the project, UA and Edison have refused to pay it the

          final balance owed of approximately $71,177.95.

                 49.     On or about January 16, 2020, Green Star met with UA management at their

          offices to review Green Star’s final payment requisition. No back charges were presented at that

          meeting and final payment was to be made upon release and final payment to UA by Edison.

                 50.     Despite numerous requests for payment, UA and Edison refused to pay Green

          Star’s final requisition. Neither Edison nor UA has provided any documentation or backup as to

          any reasons why payment should not be made in full, nor have they made any formal notice to

          Green Star of any alleged default pursuant to its contract with UA.

                 51.     On or about July 27 and July 28, 2020, Joe Novella of Green Star exchanged

          email messages with Mr. Suriano and Mr. Pipia of Edison, in which both Mr. Suriano and Mr.

          Pipia made false statements that Green Star did not properly perform its work on the New York

          Property project, which statements, upon information and belief, were intentionally false. (Copy

          attached as Exhibit E.)

                 52.     On or about July 30, 2020, Joe Novella of Green Star participated in a telephone

          conference call with Mr. Suriano and Mr. Pipia of Edison regarding the outstanding balance due.

                 53.     On this telephone conference, Mr. Suriano and Mr. Pipia each made statements

          that “back charges nullified” any amounts due to Green Star, and in addition, Mr. Pipia made the

          false statement that he had attempted to contact Green Star for warranty work and was not able

          to reach anybody on the telephone or by email; upon information and belief the foregoing

          statements were intentionally false.




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                 54.     A week later, on or about August 6, 2020, after Green Star had waited for

         payment for nearly seven (7) months, Mr. Suriano delivered an email to Green Star on behalf of

         Edison, in which he made the false statement that back charges and other expenses nearly

         equaled the outstanding amount due to Green Star; upon information and belief the foregoing

         statement was intentionally false. Mr. Suriano’s email also offered to pay only $10,500 as “final

         settlement” of to satisfy Green Star’s outstanding invoice. (Copy attached hereto as Exhibit F).

                 55.     No evidence or documentation of these back charges and other expenses was ever

         supplied to Green Star.

                 56.     Upon information and belief, through Mr. Suriano and Mr. Pipia, Edison

         conspired (once again) to defraud Green Star of its final payment on a construction project, but

         this time by conspiring with UA to defraud Green Star.

                 57.     Upon information and belief, the foregoing false statements relating to the New

         York Property, in addition to being part of Edison’s plan not to pay Green Star with respect to

         the New York Property, were part and parcel of the fraud with respect to the Newark Property in

         that they were part of a pre-conceived plan and course of action designed to cripple Green Star

         and deprive it of adequate resources to continue its business and to vindicate its rights against

         Edison.

                                AS AND FOR THE FIRST CAUSE OF ACTION
                            (Fraud Against the Edison Defendants, Suriano and Pipia)

                 58.     Green Star realleges the allegations set forth in the prior paragraphs as though

         fully set forth herein.

                 59.     Mr. Suriano and Mr. Pipia, as employees of and on behalf of Edison, repeatedly

         made material false statements of fact to Green Star, upon information and belief intentionally




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          false, with respect to the timely payment of Green Star’s invoices that would be issued in

          connection with the Construction Projects.

                 60.     Upon information and belief, Mr. Suriano, Mr. Pipia and Edison made false

          statements of fact, upon information and belief intentionally false, that concealed the purpose

          and intent of fraudulently inducing Green Star to enter into its contracts on the Construction

          Projects.

                 61.     Specifically, as discussed above, on or about July 16, 2018, Mr. Suriano assured

          Mr. Novella that Green Star would be paid timely without fail on the Newark Property project.

          Upon information and belief, this statement by Mr. Suriano on behalf of Edison was intentionally

          false and misleading and designed to induce Green Star to sign the contract with Hollister and to

          work on the Newark Property project and any other subsequent project such as the New York

          Property project, with the prior intentions of: (i) withholding payments from Green Star at the

          end of its work on each Construction Project in conjunction with further material false statements

          of fact, which upon information and belief were intentionally false and designed to colorably

          justify the fraudulent withholding of payments; and (ii) without basis “terminating” Green Star

          from one more of such Construction Projects.

                 62.     Further, as discussed above, on or about May 30, 2019, Mr. Suriano on behalf of

          Edison emailed to Green Star a message containing false statements, upon information and belief

          intentionally false, with respect to the status of the project at that time and the work Green Star

          had performed, as alleged grounds for threatening “termination” of Green Star’s subcontract on

          the Newark Property project, alleged justification for locking-out Green Star from the project

          site, and alleged justification for refusing to pay Green Star’s final invoice. Upon information

          and belief, these statements by Mr. Suriano on behalf of Edison were intentionally false.



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                  63.     As discussed above, on or about July 27 and July 28, 2020, Joe Novella of Green

          Star exchanged email messages with Mr. Suriano and Mr. Pipia of Edison, in which both Mr.

          Suriano and Mr. Pipia made false statements, upon information and belief intentionally false, that

          Green Star did not properly perform its work on the New York Property project.

                  64.     As discussed above, on or about July 30, 2020, Mr. Suriano and Mr. Pipia each

          made false statements, upon information and belief intentionally false, to Mr. Novella that “back

          charges nullified” any amounts due to Green Star on the New York Property project. In addition,

          on that day Mr. Pipia made the false statement, upon information and belief, intentionally false,

          that he had attempted to contact Green Star for warranty work for the New York Property

          project, and was not able to reach anybody on the telephone or by email.

                  65.     In entering into its subcontracts with Hollister and UA regarding the Construction

          Projects, Green Star relied on the above false statements by Mr. Suriano, Mr. Pipia and Edison

          made prior to or on the dates of entry into its subcontracts with Hollister and UA.

                  66.     In performing and continuing to perform its work regarding the Construction

          Projects, Green Star relied upon the above false statements by Mr. Suriano, Mr. Pipia and Edison

         made prior to the dates Green Star ceased work on the Construction Projects.

                  67.     Green Star has been damaged as a result of Mr. Suriano’s, Mr. Pipia’s and the

         Edison Defendants’ fraudulent and intentional material false statements of fact in an amount to

          be determined at trial.

                                AS AND FOR THE SECOND CAUSE OF ACTION
                                    (Aiding and Abetting Fraud against UA)

                  68.     Green Star realleges the allegations set forth in the prior paragraphs as though

          fully set forth herein.




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                 69.     As discussed above and set forth under the heading “Factual Allegations” and in

          the First Cause of Action, Mr. Suriano and Mr. Pipia, as employees of and on behalf of Edison,

         repeatedly made material false statements of fact to Green Star which, upon information and

          belief, were intentionally false with respect to the timely payment of Green Star’s invoices that

          would be issued in connection with the Construction Projects, for the purpose of fraudulently

          inducing Green Star to enter into contracts for the Construction Projects with the prior intentions

          of: (i) withholding payments from Green Star at the end of its work on each Construction Project

          in conjunction with further material false statements of fact, which upon information and belief

          were intentionally false and designed to colorably justify the fraudulent withholding of

          payments; and (ii) without basis “terminating” Green Star from one more of such Construction

          Projects.

                 70.     In furtherance of and without limiting the foregoing, on or about July 27 and July

          28, 2020, Joe Novella of Green Star exchanged email messages with Mr. Suriano and Mr. Pipia

          of Edison, in which both Mr. Suriano and Mr. Pipia made false statements, upon information and

          belief intentionally false, that Green Star did not properly perform its work on the New York

          Property project.

                 71.     In furtherance of and without limiting the foregoing, on or about July 30, 2020,

          Mr. Suriano and Mr. Pipia each made false statements, upon information and belief intentionally

          false, to Mr. Novella that “back charges nullified” any amounts due to Green Star on the New

          York Property project. In addition, on that day Mr. Pipia made the false statement, upon

          information and belief, intentionally false, that he had attempted to contact Green Star for

          warranty work for the New York Property project, and was not able to reach anybody on the

          telephone or by email.



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                 72.     Upon information and belief, UA had actual knowledge of the above false, upon

          information and belief intentionally false, statements made by Suriano, Pipia and Edison for the

          purposes, inter alia, of defrauding Green Star of its final progress payment on the New York

          Property project.

                 73.     UA provided substantial assistance to Suriano, Pipia and Edison with respect to

          defrauding Green Star of its final progress payment on the New York Property project by failing

          to make payment to Green Star with respect to the final progress payment, which proximately

          caused the harm to Green Star on which the fraud in the First Cause of Action is predicated.

                 74.     Green Star has been damaged as a result of UA’s aiding and abetting the fraud

          committed by Suriano, Pipia and Edison, in an amount to be determined at trial.

                              AS AND FOR THE THIRD CAUSE OF ACTION
           (Tortious Interference with Contracts against the Edison Defendants, Suriano and Pipia)

                 75.     Green Star realleges the allegations set forth in the prior paragraphs as though

         fully set forth herein.

                 76.     Green Star had valid contracts with Hollister and UA to act as the subcontractor

         on the Newark Property project and the New York Property project.

                 77.     The Edison Defendants, Suriano and Pipia each had knowledge of those contracts.

                 78.     Hollister breached its contract with Green Star on the Newark Property project, by

         failing to make payment to Green Star on its final requisition. In addition, Hollister breached its

         contract with Green Star by failing to allow Green Star onto the project site and failing to seek

          warranty work from Green Star.

                 79.     UA breached its contract with Green Star, by failing to make payment to Green

          Star on its final requisition. In addition, UA breached its contract with Green Star by failing to

          seek warranty work from Green Star.


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                  80.     Upon information and belief, the Edison Defendants, Suriano and Pipia each

          intentionally procured Hollister’s breach of its contract with Green Star on the Newark Property

          project, by taking the actions and making the fraudulent and false statements described above,

         including, without limitation, refusing to make payment to Hollister on the amounts owed for the

         work performed by Green Star, instructing Hollister to lock-out Green Star from the project site,

          and instructing Hollister to use a different subcontractor for warranty work, which actions were

          grounded in material part on fraudulent and false accusations and statements regarding purported

          failure to perform by Green Star.

                  81.     Upon information and belief, the Edison Defendants, Suriano and Pipia each

          intentionally procured UA’s breach of its contract with Green Star on the New York Property

          project, by taking the actions and making the fraudulent and false statements described above,

          including, without limitation, refusing to make payment to UA on the amounts owed for the

          work performed by Green Star, and instructing UA to use a different subcontractor for warranty

          work which actions were grounded in material part on fraudulent and false accusations and

          statements regarding purported failure to perform by Green Star.

                  82.     Green Star has been damaged as a result of Edison’s, Suriano’s and Pipia’s

          fraudulent and tortious inducement to breach and interference with the contracts between Green

          Star and Hollister and UA respectively, in an amount to be determined at trial.


                         AS AND FOR THE FOURTH CAUSE OF ACTION
             (Quantum Meruit against the Edison Defendants as to the Newark Property Project)

                  83.     Green Star realleges the allegations set forth in the prior paragraphs as though

          fully set forth herein.

                  84.     Green Star designed and installed the HVAC system for the Newark Property.



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                  85.     Green Star rendered these services and provided labor and equipment in good

          faith that it would be fully compensated for its work.

                  86.     Edison Properties accepted the benefits of the work on the HVAC system, and

          repeatedly promised to ensure timely and full payments to Green Star in connection with the

          work, and made a direct progress payment to Green Star in that regard.

                  87.     Edison Properties accepted the benefits of the work on the HVAC system.

                  88.     Green Star expected to be compensated for all of the labor, equipment and work it

          performed.

                  89.     The reasonable value of the labor, equipment and work rendered is $1.1 million.

                  90.     Green Star received payments totaling $879,939.42.

                  91.     Green Star is still owed $220,060.58.

                  92.     The $220,060.58 remains unpaid and outstanding, plus pre-judgement interest that

          continues to accrue.

                  93.     Green Star is entitled to a judgment in its favor against the Edison Defendants for

          quantum meruit damages in an amount to be proven at trial.

                             AS AND FOR THE FIFTH CAUSE OF ACTION
            (Breach of Contract Against the Edison Defendants – Third Party Beneficiary as to the
                                         Newark Property Project)

                  94.     Green Star realleges the allegations set forth in the prior paragraphs as though

          fully set forth herein.

                  95.     Hollister and one or both of the Edison Defendants entered into a general

          construction contract in connection with the renovation of the Newark Property (the “General

          Contract”).

                  96.     Upon information and belief, Green Star is an intended third-party beneficiary of

          the General Contract, in that the Edison Defendants and Hollister repeatedly made promises and
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          guarantees to Green Star in conjunction with the General Contract that it would be paid timely on

         a monthly basis. In that regard, Edison made a direct progress payment to Green Star.

                  97.       Upon information and belief, Edison never made final payment to Hollister.

                  98.       Green Star is currently unable to attach a copy of the General Contract because it

         does not have possession of it.

                  99.       Upon information and belief, Edison breached the General Contract by refusing to

         make final payment to Hollister on the Newark Property project.

                  100.      As a result of Edison’s breach of the General Contract, Green Star has incurred

         damages of $220,060.58, plus pre-judgment interest as it continues to accrue.

                  101.      Green Star is entitled to a judgment in its favor against the Edison Defendants in

         an amount to be proven at trial.

                                    AS AND FOR THE SIXTH CAUSE OF ACTION
                                          (Breach of Contract against UA)

                  102.      Green Star realleges the allegations set forth in the prior paragraphs as though

          fully set forth herein.

                  103.      Green Star performed all of its required obligations under its subcontract with

         UA.

                  104.      By failing to make final payment to Green Star on its final requisition, UA has

         breached its subcontract with Green Star.

                  105.      UA performed its subcontract with Green Star in bad faith by conspiring with

         Edison to avoid payment to Green Star.

                  106.      Green Star’s damages are for $71,177.95 as per its final requisition.

                  107.      Green Star is entitled to a judgment in its favor against UA in an amount to be

         proven at trial.


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                        AS AND FOR THE SEVENTH CAUSE OF ACTION
           (Quantum Meruit against the Edison Defendants as to the New York Property Project)

                 108.    Green Star realleges the allegations set forth in the prior paragraphs as though

         fully set forth herein.

                 109.    Green Star designed and installed the HVAC system for the New York Property

         project.

                 110.    Green Star rendered these services and provided labor and equipment in good

         faith that it would be fully compensated for its work.

                 111.    Edison accepted the benefits of the work on the HVAC system, and repeatedly

         promised to ensure timely and full payments to Green Star in connection with the work.

                 112.    Edison accepted the benefits of the work on the HVAC system.

                 113.    Green Star expected to be compensated for all of the labor, equipment and work it

         performed.

                 114.    The reasonable value of the labor, equipment and work rendered is $825,000.

                 115.    Green Star received payments totaling $755,833.95

                 116.    Green Star is still owed $71,177.95.

                 117.    The $71,177.95 remains unpaid and outstanding, plus pre-judgement interest that

         continues to accrue.

                 118.    Green Star is entitled to a judgment in its favor against the Edison Defendants for

         quantum meruit damages in an amount to be proven at trial.

                 WHEREFORE, Plaintiff, GREEN START SOLUTIONS LLC, demands judgment:

                 A.      On Plaintiff’s First Cause of Action against the Edison Defendants, Suriano and

         Pipia, a judgment in an amount to be determined at trial, together with interest, fees and costs.




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                  B.      On Plaintiff’s Second Cause of Action against UA, a judgment in an amount to be

          determined at trial, together with interest, fees and costs..

                  C.      On Plaintiff’s Third Cause of Action against the Edison Defendants, Suriano and

          Pipia, a judgment in an amount to be determined at trial, together with interest, fees and costs.

                  D.      On Plaintiff’s Fourth Cause of Action against the Edison Defendants as to the

          Newark Property Project, a judgment in an amount no less than $220,060.58, together with

          interest, fees and costs.

                  E.      On Plaintiff’s Fifth Cause of Action against the Edison Defendants as to the

          Newark Property Project, a judgment in an amount no less than $220,060.58, together with

          interest, fees and costs.

                  F.      On Plaintiff’s Sixth Cause of Action against UA, a judgment in an amount no less

          than $71,177.95, together with interest, fees and costs.

                  G.      On Plaintiff’s Seventh Cause of Action against the Edison Defendants, a

          judgment in an amount no less than $71,177.95, together with interest, fees and costs.




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                 H.      For such other and further relief as the Court deems just and proper, including

          without limitation, awarding Plaintiff its compensatory, consequential, and special damages

          including, without limitation, its lost profits, as well as exemplary and treble damages, as well as

          punitive damages based on the egregious intentional and willful misconduct of Defendants, as

          well as Plaintiffs’ reasonable attorneys’ fees and costs, all together with pre and post judgment

          interest, as provided by law.


          Dated: February 26, 2021



                                                       Ralph Gaboury
                                                       Laleh Hawa
                                                       COX PADMORE SKOLNIK & SHAKARCHY LLP

                                                       Attorneys for Plaintiff

                                                       630 Third Avenue, 23rd Floor
                                                       New York, NY 10017
                                                       P: (212) 953-6633
                                                       F: (212) 949-6943
                                                       E: gaboury@cpsslaw.com
                                                       E: hawa@cpsslaw.com




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   From:                            Pasquale Suriano <psuriano@edprop.com>
   Sent:                            Thursday, May 30, 2019 4:00 PM
   To:                              Tom Esposito; Joe Novella
   Cc:                              Robert Gerardo; Roosevelt Shelby; Mazen Batarseh; Pasquale Suriano; Joe Pipia; Kevin
                                    Gallen
    Subject:                        Edison Offices - Ironside
    Attachments:                    Re: 110 Edison update 5_15_19 (50.2 KB); Untitled attachment 315155.eml (6.10 MB)

    Flag Status:                    Flagged

    Categories:                     DOCKET


   Joe/Tom,
   It is approaching June 1. The horror stories I’ve heard about you performance, both from my people and Mitsubishi (and
   your own employees who haven’t gotten paid) have reached the end. The attached pictures show yu what the MERs
   look like as of today. We are moving in this weekend and we do not have code required OA coming to the offices.
   Please consider this email your termination of your responsibilities. Do not call me to discuss.
   Kevin – I have asked Robert to speak to another contractor to complete. Can you please come to the site on Monday to
   review what’s left with the new contractor to ensure design compliance. I am very regretful I was talked into the ERV
   units instead of sticking with DOAS units as designed.
   Thank you.




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                                 EXHIBIT B
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   From:                             Pasquale Suriano <psuriano@edprop.com>
   Sent:                             Monday, July 15, 2019 3:31 PM
   To:                               Joe Novella; Mazen Batarseh; Robert Gerardo
   Subject:                          RE: 110 Edison

    Flag Status:                     Flagged


   Joe,
   The estimated backcharge to complete what you left behind is $175,000 from the contractor + Mitsubishi + Gallen.
   We’ll advise when it is 100% complete.

    Pasquale Suriano | Executive Vice President of Engineering & Construction
    Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102
    Direct (973) 849‐2613




   From: Joe Novella <joenovella@gogreenstar.com>
   Sent: Monday, July 15, 2019 3:26 PM
   To: Pasquale Suriano <psuriano@edprop.com>; Mazen Batarseh <mazenb@edprop.com>
   Subject: 110 Edison


   Pasquale and Mazen,

   We have not received any payment from Hollister which put's us out three
   months since getting any payment on the project. Hollister is not providing
   much information either. This has become a financial hardship for us, can
   you please provide us with any information as to how this is going to
   ultimately be handled. The balance of contract is $236,418.

   Thanks,
   Joe

    Joe Novella
    CEO, Founder
    203-947-9335
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   Building Scientist




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   From:                               Pasquale Suriano <psuriano@edprop.com>
   Sent:                               Monday, July 15, 2019 3:40 PM
   To:                                 Joe Novella; Michael Marzouk; Mazen Batarseh; Robert Gerardo
   Subject:                            RE: 110 Edison

    Flag Status:                       Flagged


   We will send once all detail is received.

    Pasquale Suriano | Executive Vice President of Engineering & Construction
    Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102
    Direct (973) 849‐2613




   From: Joe Novella <joenovella@gogreenstar.com>
   Sent: Monday, July 15, 2019 3:38 PM
   To: Pasquale Suriano <psuriano@edprop.com>
   Subject: Re: 110 Edison


   Pasquale,
   Do you have a detail of the back charges?

   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist




   On Mon, Jul 15, 2019 at 3:30 PM Pasquale Suriano <psuriano@edprop.com> wrote:

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    Joe,

    The estimated backcharge to complete what you left behind is $175,000 from the contractor + Mitsubishi + Gallen.

    We’ll advise when it is 100% complete.



    Pasquale Suriano | Executive Vice President of Engineering & Construction

    Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

    Direct (973) 849‐2613

           The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




    From: Joe Novella <joenovella@gogreenstar.com>
    Sent: Monday, July 15, 2019 3:26 PM
    To: Pasquale Suriano <psuriano@edprop.com>; Mazen Batarseh <mazenb@edprop.com>
    Subject: 110 Edison




    Pasquale and Mazen,


    We have not received any payment from Hollister which put's us out three
    months since getting any payment on the project. Hollister is not
    providing much information either. This has become a financial hardship
    for us, can you please provide us with any information as to how this is
    going to ultimately be handled. The balance of contract is $236,418.


    Thanks,
    Joe
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    Joe Novella
    CEO, Founder

    203-947-9335

    Building Scientist
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   From:                             Pasquale Suriano <psuriano@edprop.com>
   Sent:                             Wednesday, July 17, 2019 2:29 PM
   To:                               Joe Novella
   Cc:                               Mazen Batarseh; Michael Marzouk; Robert Gerardo; Joe Pipia
   Subject:                          RE: FW: 110 EDISON JOB

    Flag Status:                     Flagged

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   You’re kidding right? You abandoned the project, left us with a pile of ____ to complete, we’re getting unpaid invoices
   that we had no knowledge of, etc. What us is out there??? Do you need to hear more?

   Pasquale Suriano | Executive Vice President of Engineering & Construction
   Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102
   Direct (973) 849‐2613




   From: Joe Novella <joenovella@gogreenstar.com>
   Sent: Wednesday, July 17, 2019 2:12 PM
   To: Pasquale Suriano <psuriano@edprop.com>
   Cc: Mazen Batarseh <mazenb@edprop.com>; Michael Marzouk <MichaelM@edprop.com>; Robert Gerardo
   <RobertG@IronsideNewark.com>
   Subject: Re: FW: 110 EDISON JOB


   Pasquale,
   Thats fine, are the ERV's in operation, is the system working okay?

   I don't know what other back charges you have but including the
   Mitsubishi equipment credit our final req is $236,000. Is there any way we
   could get even a small partial payment?

   Thanks,
   Joe


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   Joe Novella
   CEO, Founder
    203-947-9335
    Building Scientist




   On Wed, Jul 17, 2019 at 12:45 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     This invoice will be paid directly and backcharged to your account, + mark up for processing.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

     Direct (973) 849‐2613

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     From: Kevin Gallen <kevin@gallenengineering.com>
     Sent: Tuesday, July 16, 2019 4:40 PM
     To: Pasquale Suriano <psuriano@edprop.com>; Robert Gerardo <RobertG@IronsideNewark.com>
     Subject: Fwd: 110 EDISON JOB




     Pasquale,



     Per our conversat ion, see below and at t ached.




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                 3                  Document 1-2 Filed 03/29/21 Page 35 of 114 PageID:
                                                                      RECEIVED  NYSCEF:53
                                                                                        02/26/2021
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    Kevin Gallen, PE

    President

    Gallen Engineering LLC

    ( 917) 428- 6396

    kevin@gallenengineering.com

    www.gallenengineering.com



    * * * Office Hours: 9: 30am - 4: 30pm , Monday- Friday * * *



    ---------- Forwarded message ---------
    From: Herb Marone <hmarone@airequipmentllc.com>
    Date: Thu, Jul 11, 2019 at 10:17 AM
    Subject: 110 EDISON JOB
    To: tim.greiner@am.jll.com <tim.greiner@am.jll.com>, frank.recine@am.jll.com <frank.recine@am.jll.com>
    Cc: kevin@gallenengineering.com <kevin@gallenengineering.com>



    Good morning,

    Back In April of this year we supplied 2 ERV units to Greenstar Energy Solutions for a job located at 110
    Edison Place (see attached invoice). We are still owed a balance of $11,677.23

    I just learned that Greenstar Energy Solutions is owed hundreds of thousands of dollars for this job.

    We are a small supplier out of CT and cannot wait 90 plus days to get paid. We will have no choice but to put
    a lien on the property if we are not paid the balance due.

    Any assistance you can provide in this matter would be greatly appreciated.

    Thank you,
    Herb


    Herbert Marone
    Controller
                                                                                                                                                                     3
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                             INDEX NO. 651345/2021
         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 36 of 114 PageID:
                                                                      RECEIVED  NYSCEF:54
                                                                                        02/26/2021
    DIRECT LINE: 860‐709‐9744
    hmarone@airequipmentllc.com




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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                                                                                          INDEX NO. 651345/2021
         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 37 of 114 PageID:
                                                                      RECEIVED  NYSCEF:55
                                                                                        02/26/2021




   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Wednesday, July 17, 2019 2:37 PM
   To:                                                                                                                         Pasquale Suriano
   Subject:                                                                                                                    Re: FW: 110 EDISON JOB

    Flag Status:                                                                                                               Flagged



    We absolutely did not abandon the project, The entire VRF system was
   fully operational, we had one day of work on May 30th to install the ERV
   dampers and my crew was there THAT morning when we were kicked off
   the job without notice. Even after this we cooperated with any requests
   made and were available to perform additional work. Nobody from Edison
   ever gave us a punch list or comminicated in any way.

   I told the ERV supplier to contact you directly as we don't have any
   working capital at this time.

   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
        To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the I nternet.




   On Wed, Jul 17, 2019 at 2:29 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     You’re kidding right? You abandoned the project, left us with a pile of ____ to complete, we’re getting unpaid invoices
     that we had no knowledge of, etc. What us is out there??? Do you need to hear more?



     Pasquale Suriano | Executive Vice President of Engineering & Construction

                                                                                                                                                      1
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                       INDEX NO. 651345/2021
         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 38 of 114 PageID:
                                                                      RECEIVED  NYSCEF:56
                                                                                        02/26/2021
    Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

    Direct (973) 849‐2613




    From: Joe Novella <joenovella@gogreenstar.com>
    Sent: Wednesday, July 17, 2019 2:12 PM
    To: Pasquale Suriano <psuriano@edprop.com>
    Cc: Mazen Batarseh <mazenb@edprop.com>; Michael Marzouk <MichaelM@edprop.com>; Robert Gerardo
    <RobertG@IronsideNewark.com>
    Subject: Re: FW: 110 EDISON JOB




    Pasquale,
    Thats fine, are the ERV's in operation, is the system working okay?


    I don't know what other back charges you have but including the
    Mitsubishi equipment credit our final req is $236,000. Is there any way
    we could get even a small partial payment?


    Thanks,
    Joe




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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 39 of 114 PageID:
                                                                      RECEIVED  NYSCEF:57
                                                                                        02/26/2021

    Joe Novella
    CEO, Founder

    203-947-9335

    Building Scientist




    On Wed, Jul 17, 2019 at 12:45 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     This invoice will be paid directly and backcharged to your account, + mark up for processing.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

     Direct (973) 849‐2613




     From: Kevin Gallen <kevin@gallenengineering.com>
     Sent: Tuesday, July 16, 2019 4:40 PM
     To: Pasquale Suriano <psuriano@edprop.com>; Robert Gerardo <RobertG@IronsideNewark.com>
     Subject: Fwd: 110 EDISON JOB




     Pasquale,



     Per our conversat ion, see below and at t ached.

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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 40 of 114 PageID:
                                                                      RECEIVED  NYSCEF:58
                                                                                        02/26/2021




     Kevin Gallen, PE

     President

     Gallen Engineering LLC

     ( 917) 428- 6396

     kevin@gallenengineering.com

     www.gallenengineering.com



     * * * Office Hours: 9: 30am - 4: 30pm , Monday- Friday * * *



     ---------- Forwarded message ---------
     From: Herb Marone <hmarone@airequipmentllc.com>
     Date: Thu, Jul 11, 2019 at 10:17 AM
     Subject: 110 EDISON JOB
     To: tim.greiner@am.jll.com <tim.greiner@am.jll.com>, frank.recine@am.jll.com <frank.recine@am.jll.com>
     Cc: kevin@gallenengineering.com <kevin@gallenengineering.com>



     Good morning,

     Back In April of this year we supplied 2 ERV units to Greenstar Energy Solutions for a job located at 110
     Edison Place (see attached invoice). We are still owed a balance of $11,677.23

     I just learned that Greenstar Energy Solutions is owed hundreds of thousands of dollars for this job.

     We are a small supplier out of CT and cannot wait 90 plus days to get paid. We will have no choice but to
     put a lien on the property if we are not paid the balance due.

     Any assistance you can provide in this matter would be greatly appreciated.

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     Herb


     Herbert Marone
     Controller

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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 3                  Document 1-2 Filed 03/29/21 Page 41 of 114 PageID:
                                                                      RECEIVED  NYSCEF:59
                                                                                        02/26/2021
     DIRECT LINE: 860‐709‐9744
     hmarone@airequipmentllc.com




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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                             INDEX NO. 651345/2021
         Case
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                 4                  Document 1-2 Filed 03/29/21 Page 42 of 114 PageID:
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                                 EXHIBIT C
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                 4                  Document 1-2 Filed 03/29/21 Page 43 of 114 PageID:
                                                                      RECEIVED  NYSCEF:61
                                                                                        02/26/2021




   From:                             Pasquale Suriano <psuriano@edprop.com>
   Sent:                             Friday, June 14, 2019 3:32 PM
   To:                               Joe Novella; Bryan Antoncic
   Cc:                               Joe Pipia; Tom Esposito; bradleyd@uabuildersgroup.com; Tom Kwon; Satyam Shah
   Subject:                          RE: 543 W 43 rd street it room HVAC unit

    Categories:                      DOCKET


   Do not make accusations, especially in writing, you know nothing about! Maybe your employees would have stayed
   with you if you paid them.

    Pasquale Suriano | Executive Vice President of Engineering & Construction
    Edison Properties | 100 Washington St. | Newark, NJ 07102
    Direct (973) 849‐2613




   From: Joe Novella <joenovella@gogreenstar.com>
   Sent: Friday, June 14, 2019 3:05 PM
   To: Bryan Antoncic <bryan@uabuildersgroup.com>
   Cc: Joe Pipia <JoeP@edprop.com>; Tom Esposito <tomesposito@gogreenstar.com>; bradleyd@uabuildersgroup.com;
   Pasquale Suriano <psuriano@edprop.com>; Tom Kwon <TomK@ManhattanMiniStorage.com>; Satyam Shah
   <SatyamS@ManhattanMiniStorage.com>
   Subject: Re: 543 W 43 rd street it room HVAC unit


   No we don't, unfortunately our lead Mitsubishi service tech was poached
   by either Edison or one of their contractors at our Ironside Newark job
   with them a couple of weeks ago. The only other Mitsubishi tech we have
   in on vacation so we can't do en emergency call.

   Sorry,
   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
                                                             1
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                 4                  Document 1-2 Filed 03/29/21 Page 44 of 114 PageID:
                                                                      RECEIVED  NYSCEF:62
                                                                                        02/26/2021




   On Fri, Jun 14, 2019 at 3:02 PM Bryan Antoncic <bryan@uabuildersgroup.com> wrote:
    Joe/Tom,

    Do you have anyone available in the area that can service this unit?

    Thank you,

    Bryan Antoncic

    > On Jun 14, 2019, at 2:50 PM, Joe Pipia <JoeP@edprop.com> wrote:
    >
    > Brad
    > Please be advised that the IT room at 543 W 43rd street is not working and requires immediate attention .
    > The equipment in the IT is very expensive and requires a temp of 72 degrees to be maintained at all times.
    > Please send a service tech ASAP.
    >
    >
    >
    > Joseph Pipia
    > Edison Construction Management
    > 188 Ludlow street
    > New York NY 10002
    > Cell # 516 457-4772
    >




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                 5                  Document 1-2 Filed 03/29/21 Page 45 of 114 PageID:
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                                EXHIBIT D
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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 5                  Document 1-2 Filed 03/29/21 Page 46 of 114 PageID:
                                                                      RECEIVED  NYSCEF:64
                                                                                        02/26/2021




   From:                                                                                                                       Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                       Friday, October 12, 2018 10:17 AM
   To:                                                                                                                         Marchese, Ed; Pasquale Suriano; Mazen Batarseh; Bruce Benson; Joe Novella
   Subject:                                                                                                                    *** 110 Edison Pulling off the job until moneys have been wired

    Flag Status:                                                                                                               Flagged


   Gentlemen,
   I have heard that the contracts with Hollister have been signed and they are picking up their check today.
   I just spoke with Ed Marchese and he told me I will have a wire on Wednesday because the check needs to
   clear. Our checks clear from giant clients like Edison properties IMMEDIATELY. We can not wait another
   single day for payment.
   Unfortunately this job is putting is a bad position and we need to get at least 100k wired to us or a check by end
   of day from either Hollister or Edison properties. We agreed to execute this project quickly and we agreed to get
   funded in a timely manner. It has been three weeks of working on this project with no money. We have not
   been able to order equipment and have funded this job out of pocket. We have to pull off the job at the end of
   the day today, Friday October 12th, 2019 unless someone guarantees me that we will have 100K today via a
   check from someone and the balance on Wednesday wired and in our account before the end of day.

    Please call Joe and I to discuss.


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
   888‐500‐6246
   www.GoGreenStar.com
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         Case
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                 5                  Document 1-2 Filed 03/29/21 Page 47 of 114 PageID:
                                                                      RECEIVED  NYSCEF:65
                                                                                        02/26/2021




   From:                                                                                                                      Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                      Tuesday, December 04, 2018 2:44 PM
   To:                                                                                                                        Pasquale Suriano; Mazen Batarseh; Joe Novella; Daniel Walker
   Subject:                                                                                                                   Fwd: 110 Edison Funding update



   Gentlemen
   Hollister is holding up payment on us. We gave them a pencil req in October and another one in
   November. Please read the email, below from Melissa in their office. Please let me know if you can push them
   to pay us.
   Thank you,


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
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   www.GoGreenStar.com
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   ---------- Forwarded message ---------
   From: Daniel Walker <danwalker@gogreenstar.com>
   Date: Mon, Dec 3, 2018 at 10:43 AM
   Subject: Fwd: 110 Edison Funding update
   To: Joe Novella <joenovella@gogreenstar.com>, Tom Esposito <tomesposito@gogreenstar.com>


   Just wanted to pass this along - doesn't llok like 110 Edison money is coming this week.

   ---------- Forwarded message ---------
   From: Stewart, Melissa <mstewart@hollistercs.com>
   Date: Mon, Dec 3, 2018 at 10:37 AM
   Subject: RE: 110 Edison Funding update
   To: Daniel Walker <danwalker@gogreenstar.com>
   Cc: Marchese, Ed <emarchese@hollistercs.com>, Pierce, Dayton <dpierce@hollistercs.com>, Marrone, Larisa
   <lmarrone@hollistercs.com>


   Daniel,
                                                                                                                                                      1
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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 5                  Document 1-2 Filed 03/29/21 Page 48 of 114 PageID:
                                                                      RECEIVED  NYSCEF:66
                                                                                        02/26/2021



   I was not informed by Ed that any payment was to be released, the $109K is a part of November billing for
   which we have not been paid yet.



   Melissa Stewart

   Project Accountant

   Hollister Construction Services, LLC

   339 Jefferson Road

   Parsippany, NJ 07054

   P: 201-393-7500

   M: 201-452-7218

   F: 201-393-8907

   mstewart@hollistercs.com

   www.hollistercs.com



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   From: Daniel Walker <danwalker@gogreenstar.com>
   Sent: Monday, December 3, 2018 10:29 AM
   To: Stewart, Melissa <mstewart@hollistercs.com>
   Subject: Re: 110 Edison Funding update



   The amount is $109,893, and was submitted through procore around November 12th.




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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                        INDEX NO. 651345/2021
         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 5                  Document 1-2 Filed 03/29/21 Page 49 of 114 PageID:
                                                                      RECEIVED  NYSCEF:67
                                                                                        02/26/2021

   Thanks,



   Dan



   On Mon, Dec 3, 2018 at 10:26 AM Stewart, Melissa <mstewart@hollistercs.com> wrote:

    Daniel,



    What billing are you looking for payment on?



    Melissa Stewart

    Project Accountant

    Hollister Construction Services, LLC

    339 Jefferson Road

    Parsippany, NJ 07054

    P: 201-393-7500

    M: 201-452-7218

    F: 201-393-8907

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                 5                  Document 1-2 Filed 03/29/21 Page 50 of 114 PageID:
                                                                      RECEIVED  NYSCEF:68
                                                                                        02/26/2021

    From: Daniel Walker <danwalker@gogreenstar.com>
    Sent: Monday, December 3, 2018 10:25 AM
    To: Stewart, Melissa <mstewart@hollistercs.com>
    Subject: 110 Edison Funding update



    Good morning Melissa



    Ed Marchese mentioned that there would be a check available early this week for our project on 110 Edison.
    Can you confirm, and if so, can we pick up?



    Thanks,



    Dan




    --

    Dan Walker

    Chief Financial Officer

    Green Star Energy

    203-460-6814 Cell
    888-500-6246
    www.GoGreenStar.com




    483 Federal Road Brookfield, CT 06804




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                                                                      RECEIVED  NYSCEF:69
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   Dan Walker

   Chief Financial Officer

   Green Star Energy

   203-460-6814 Cell
   888-500-6246
   www.GoGreenStar.com




   483 Federal Road Brookfield, CT 06804




   --
   Dan Walker
   Chief Financial Officer
   Green Star Energy
   203‐460‐6814 Cell
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                 5                  Document 1-2 Filed 03/29/21 Page 52 of 114 PageID:
                                                                      RECEIVED  NYSCEF:70
                                                                                        02/26/2021




   From:                                                                                                                      Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                      Friday, November 09, 2018 11:07 AM
   To:                                                                                                                        Pasquale Suriano; Joe Novella
   Subject:                                                                                                                   LSK line of credit



   Good speaking with you this morning Pasquale.

   As per our conversation, if Edison could help us establish a 30 to 45 day credit line with LSK for Edison's
   projects it would make our work flow and cash flow much better on your projects.

    We appreciate anything you can do for us.

    Thank you and have a great weekend.


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
   888‐500‐6246
   www.GoGreenStar.com
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                 5                  Document 1-2 Filed 03/29/21 Page 53 of 114 PageID:
                                                                      RECEIVED  NYSCEF:71
                                                                                        02/26/2021




   From:                                                                                                                      Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                      Tuesday, December 04, 2018 2:44 PM
   To:                                                                                                                        Pasquale Suriano; Mazen Batarseh; Joe Novella; Daniel Walker
   Subject:                                                                                                                   Fwd: 110 Edison Funding update



   Gentlemen
   Hollister is holding up payment on us. We gave them a pencil req in October and another one in
   November. Please read the email, below from Melissa in their office. Please let me know if you can push them
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   Thank you,


   Tom Esposito
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   ---------- Forwarded message ---------
   From: Daniel Walker <danwalker@gogreenstar.com>
   Date: Mon, Dec 3, 2018 at 10:43 AM
   Subject: Fwd: 110 Edison Funding update
   To: Joe Novella <joenovella@gogreenstar.com>, Tom Esposito <tomesposito@gogreenstar.com>


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   Subject: RE: 110 Edison Funding update
   To: Daniel Walker <danwalker@gogreenstar.com>
   Cc: Marchese, Ed <emarchese@hollistercs.com>, Pierce, Dayton <dpierce@hollistercs.com>, Marrone, Larisa
   <lmarrone@hollistercs.com>


   Daniel,
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                 5                  Document 1-2 Filed 03/29/21 Page 54 of 114 PageID:
                                                                      RECEIVED  NYSCEF:72
                                                                                        02/26/2021



   I was not informed by Ed that any payment was to be released, the $109K is a part of November billing for
   which we have not been paid yet.



   Melissa Stewart

   Project Accountant

   Hollister Construction Services, LLC

   339 Jefferson Road

   Parsippany, NJ 07054

   P: 201-393-7500

   M: 201-452-7218

   F: 201-393-8907

   mstewart@hollistercs.com

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   From: Daniel Walker <danwalker@gogreenstar.com>
   Sent: Monday, December 3, 2018 10:29 AM
   To: Stewart, Melissa <mstewart@hollistercs.com>
   Subject: Re: 110 Edison Funding update



   The amount is $109,893, and was submitted through procore around November 12th.




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                 5                  Document 1-2 Filed 03/29/21 Page 55 of 114 PageID:
                                                                      RECEIVED  NYSCEF:73
                                                                                        02/26/2021

   Thanks,



   Dan



   On Mon, Dec 3, 2018 at 10:26 AM Stewart, Melissa <mstewart@hollistercs.com> wrote:

    Daniel,



    What billing are you looking for payment on?



    Melissa Stewart

    Project Accountant

    Hollister Construction Services, LLC

    339 Jefferson Road

    Parsippany, NJ 07054

    P: 201-393-7500

    M: 201-452-7218

    F: 201-393-8907

    mstewart@hollistercs.com

    www.hollistercs.com



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                 5                  Document 1-2 Filed 03/29/21 Page 56 of 114 PageID:
                                                                      RECEIVED  NYSCEF:74
                                                                                        02/26/2021

    From: Daniel Walker <danwalker@gogreenstar.com>
    Sent: Monday, December 3, 2018 10:25 AM
    To: Stewart, Melissa <mstewart@hollistercs.com>
    Subject: 110 Edison Funding update



    Good morning Melissa



    Ed Marchese mentioned that there would be a check available early this week for our project on 110 Edison.
    Can you confirm, and if so, can we pick up?



    Thanks,



    Dan




    --

    Dan Walker

    Chief Financial Officer

    Green Star Energy

    203-460-6814 Cell
    888-500-6246
    www.GoGreenStar.com




    483 Federal Road Brookfield, CT 06804




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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                                                  INDEX NO. 651345/2021
         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 5                  Document 1-2 Filed 03/29/21 Page 57 of 114 PageID:
                                                                      RECEIVED  NYSCEF:75
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   Dan Walker

   Chief Financial Officer

   Green Star Energy

   203-460-6814 Cell
   888-500-6246
   www.GoGreenStar.com




   483 Federal Road Brookfield, CT 06804




   --
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   Chief Financial Officer
   Green Star Energy
   203‐460‐6814 Cell
   888‐500‐6246
   www.GoGreenStar.com
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         Case
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                 5                  Document 1-2 Filed 03/29/21 Page 58 of 114 PageID:
                                                                      RECEIVED  NYSCEF:76
                                                                                        02/26/2021




   From:                             Michael Marzouk <MichaelM@edprop.com>
   Sent:                             Thursday, December 06, 2018 12:16 PM
   To:                               Pasquale Suriano; Joe Novella
   Cc:                               Tom Esposito; Mazen Batarseh; Daniel Walker
   Subject:                          RE: 110 Edison Funding update


   Will do. Thanks!

   From: Pasquale Suriano
   Sent: Thursday, December 6, 2018 12:11 PM
   To: Joe Novella <joenovella@gogreenstar.com>; Michael Marzouk <MichaelM@edprop.com>
   Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
   <danwalker@gogreenstar.com>
   Subject: RE: 110 Edison Funding update

   Michael,
   Please look into this and give me an answer today.
   Thank you.

    Pasquale Suriano | Executive Vice President of Engineering & Construction
    Edison Properties | 100 Washington St. | Newark, NJ 07102
    Direct (973) 849‐2613




   From: Joe Novella <joenovella@gogreenstar.com>
   Sent: Thursday, December 6, 2018 12:07 PM
   To: Pasquale Suriano <psuriano@edprop.com>
   Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
   <danwalker@gogreenstar.com>; Michael Marzouk <MichaelM@edprop.com>
   Subject: Re: 110 Edison Funding update


   Pasquale,

   We are not being communicated with forthrightly from Hollister. We
   submitted a "pencil req" middle of October for $67,000 and subsequently
   submitted an RFP for $109,893 which was approved on 11-12-18.
   Hollister's account manager Melissa Stewart has advised my CFO that
   they have not been funded from Edison however Ed Marchese told me
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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                                                                                          INDEX NO. 651345/2021
         Case
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                                                                                        02/26/2021

   personaly two weeks ago we would have payment on 12-1-18 (last week).
   We have not recieved any payments since the contract deposit.

   Please advise,
   Joe

    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist




   On Tue, Dec 4, 2018 at 2:49 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     Be sure that Hollister pays promptly and gives releases from subs for all requisitions.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 100 Washington St. | Newark, NJ 07102

     Direct (973) 849‐2613

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     From: Tom Esposito <tomesposito@gogreenstar.com>
     Sent: Tuesday, December 4, 2018 2:44 PM
     To: Pasquale Suriano <psuriano@edprop.com>; Mazen Batarseh <mazenb@edprop.com>; Joe Novella
     <joenovella@gogreenstar.com>; Daniel Walker <danwalker@gogreenstar.com>
     Subject: Fwd: 110 Edison Funding update



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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                                                                                         INDEX NO. 651345/2021
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                 5                  Document 1-2 Filed 03/29/21 Page 60 of 114 PageID:
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                                                                                        02/26/2021

    Gentlemen

    Hollister is holding up payment on us. We gave them a pencil req in October and another one in
    November. Please read the email, below from Melissa in their office. Please let me know if you can push
    them to pay us.

    Thank you,




    Tom Esposito

    Director of Business Development

    Green Star Energy

    203‐770‐5252 Direct
    888‐500‐6246
    www.GoGreenStar.com



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    ---------- Forwarded message ---------
    From: Daniel Walker <danwalker@gogreenstar.com>
    Date: Mon, Dec 3, 2018 at 10:43 AM
    Subject: Fwd: 110 Edison Funding update
    To: Joe Novella <joenovella@gogreenstar.com>, Tom Esposito <tomesposito@gogreenstar.com>



    Just wanted to pass this along - doesn't llok like 110 Edison money is coming this week.

    ---------- Forwarded message ---------
    From: Stewart, Melissa <mstewart@hollistercs.com>
    Date: Mon, Dec 3, 2018 at 10:37 AM
    Subject: RE: 110 Edison Funding update
    To: Daniel Walker <danwalker@gogreenstar.com>

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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                            INDEX NO. 651345/2021
         Case
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                 5                  Document 1-2 Filed 03/29/21 Page 61 of 114 PageID:
                                                                      RECEIVED  NYSCEF:79
                                                                                        02/26/2021

    Cc: Marchese, Ed <emarchese@hollistercs.com>, Pierce, Dayton <dpierce@hollistercs.com>, Marrone, Larisa
    <lmarrone@hollistercs.com>



    Daniel,



    I was not informed by Ed that any payment was to be released, the $109K is a part of November billing for
    which we have not been paid yet.



    Melissa Stewart

    Project Accountant

    Hollister Construction Services, LLC

    339 Jefferson Road

    Parsippany, NJ 07054

    P: 201-393-7500

    M: 201-452-7218

    F: 201-393-8907

    mstewart@hollistercs.com

    www.hollistercs.com



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    From: Daniel Walker <danwalker@gogreenstar.com>
    Sent: Monday, December 3, 2018 10:29 AM
    To: Stewart, Melissa <mstewart@hollistercs.com>
    Subject: Re: 110 Edison Funding update
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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                         INDEX NO. 651345/2021
         Case
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                 5                  Document 1-2 Filed 03/29/21 Page 62 of 114 PageID:
                                                                      RECEIVED  NYSCEF:80
                                                                                        02/26/2021



    The amount is $109,893, and was submitted through procore around November 12th.



    Thanks,



    Dan



    On Mon, Dec 3, 2018 at 10:26 AM Stewart, Melissa <mstewart@hollistercs.com> wrote:

     Daniel,



     What billing are you looking for payment on?



     Melissa Stewart

     Project Accountant

     Hollister Construction Services, LLC

     339 Jefferson Road

     Parsippany, NJ 07054

     P: 201-393-7500

     M: 201-452-7218

     F: 201-393-8907

     mstewart@hollistercs.com

     www.hollistercs.com



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                                                                      RECEIVED  NYSCEF:81
                                                                                        02/26/2021

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     From: Daniel Walker <danwalker@gogreenstar.com>
     Sent: Monday, December 3, 2018 10:25 AM
     To: Stewart, Melissa <mstewart@hollistercs.com>
     Subject: 110 Edison Funding update



     Good morning Melissa



     Ed Marchese mentioned that there would be a check available early this week for our project on 110 Edison.
     Can you confirm, and if so, can we pick up?



     Thanks,



     Dan




     --

     Dan Walker

     Chief Financial Officer

     Green Star Energy

     203-460-6814 Cell
     888-500-6246
     www.GoGreenStar.com



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    --

    Dan Walker

    Chief Financial Officer

    Green Star Energy

    203-460-6814 Cell
    888-500-6246
    www.GoGreenStar.com



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    Dan Walker

    Chief Financial Officer

    Green Star Energy

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    www.GoGreenStar.com



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                 5                  Document 1-2 Filed 03/29/21 Page 65 of 114 PageID:
                                                                      RECEIVED  NYSCEF:83
                                                                                        02/26/2021




   From:                               Michael Marzouk <MichaelM@edprop.com>
   Sent:                               Thursday, December 06, 2018 3:21 PM
   To:                                 Pasquale Suriano; Joe Novella
   Cc:                                 Tom Esposito; Mazen Batarseh; Daniel Walker
   Subject:                            RE: 110 Edison Funding update

    Flag Status:                       Flagged


   Pasquale,

   I got in touch with Joe, explained to him that his October billing is included on Nov. billing on the owner side.
   The Nov. payment will be made by the end of this week to Hollister.

    Also, Ed from HCS will get in touch with Joe to give him the guidelines and due dates for sub‐contractor billing.

    Thanks,
    Michael

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   Sent: Thursday, December 6, 2018 12:11 PM
   To: Joe Novella <joenovella@gogreenstar.com>; Michael Marzouk <MichaelM@edprop.com>
   Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
   <danwalker@gogreenstar.com>
   Subject: RE: 110 Edison Funding update

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   Please look into this and give me an answer today.
   Thank you.

    Pasquale Suriano | Executive Vice President of Engineering & Construction
    Edison Properties | 100 Washington St. | Newark, NJ 07102
    Direct (973) 849‐2613




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   Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
   <danwalker@gogreenstar.com>; Michael Marzouk <MichaelM@edprop.com>
   Subject: Re: 110 Edison Funding update


   Pasquale,
                                                                 1
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         Case
NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
                 5                  Document 1-2 Filed 03/29/21 Page 66 of 114 PageID:
                                                                      RECEIVED  NYSCEF:84
                                                                                        02/26/2021



   We are not being communicated with forthrightly from Hollister. We
   submitted a "pencil req" middle of October for $67,000 and subsequently
   submitted an RFP for $109,893 which was approved on 11-12-18.
   Hollister's account manager Melissa Stewart has advised my CFO that
   they have not been funded from Edison however Ed Marchese told me
   personaly two weeks ago we would have payment on 12-1-18 (last week).
   We have not recieved any payments since the contract deposit.

   Please advise,
   Joe

    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist




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     Be sure that Hollister pays promptly and gives releases from subs for all requisitions.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 100 Washington St. | Newark, NJ 07102

     Direct (973) 849‐2613

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                 5                  Document 1-2 Filed 03/29/21 Page 67 of 114 PageID:
                                                                      RECEIVED  NYSCEF:85
                                                                                        02/26/2021



    From: Tom Esposito <tomesposito@gogreenstar.com>
    Sent: Tuesday, December 4, 2018 2:44 PM
    To: Pasquale Suriano <psuriano@edprop.com>; Mazen Batarseh <mazenb@edprop.com>; Joe Novella
    <joenovella@gogreenstar.com>; Daniel Walker <danwalker@gogreenstar.com>
    Subject: Fwd: 110 Edison Funding update




    Gentlemen

    Hollister is holding up payment on us. We gave them a pencil req in October and another one in
    November. Please read the email, below from Melissa in their office. Please let me know if you can push
    them to pay us.

    Thank you,




    Tom Esposito

    Director of Business Development

    Green Star Energy

    203‐770‐5252 Direct
    888‐500‐6246
    www.GoGreenStar.com



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    ---------- Forwarded message ---------
    From: Daniel Walker <danwalker@gogreenstar.com>
    Date: Mon, Dec 3, 2018 at 10:43 AM
    Subject: Fwd: 110 Edison Funding update
    To: Joe Novella <joenovella@gogreenstar.com>, Tom Esposito <tomesposito@gogreenstar.com>

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                                                                      RECEIVED  NYSCEF:86
                                                                                        02/26/2021



    Just wanted to pass this along - doesn't llok like 110 Edison money is coming this week.

    ---------- Forwarded message ---------
    From: Stewart, Melissa <mstewart@hollistercs.com>
    Date: Mon, Dec 3, 2018 at 10:37 AM
    Subject: RE: 110 Edison Funding update
    To: Daniel Walker <danwalker@gogreenstar.com>
    Cc: Marchese, Ed <emarchese@hollistercs.com>, Pierce, Dayton <dpierce@hollistercs.com>, Marrone, Larisa
    <lmarrone@hollistercs.com>



    Daniel,



    I was not informed by Ed that any payment was to be released, the $109K is a part of November billing for
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    Melissa Stewart

    Project Accountant

    Hollister Construction Services, LLC

    339 Jefferson Road

    Parsippany, NJ 07054

    P: 201-393-7500

    M: 201-452-7218

    F: 201-393-8907

    mstewart@hollistercs.com

    www.hollistercs.com



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                                                                                        02/26/2021




    From: Daniel Walker <danwalker@gogreenstar.com>
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    To: Stewart, Melissa <mstewart@hollistercs.com>
    Subject: Re: 110 Edison Funding update



    The amount is $109,893, and was submitted through procore around November 12th.



    Thanks,



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     What billing are you looking for payment on?



     Melissa Stewart

     Project Accountant

     Hollister Construction Services, LLC

     339 Jefferson Road

     Parsippany, NJ 07054

     P: 201-393-7500

     M: 201-452-7218

     F: 201-393-8907

     mstewart@hollistercs.com

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     From: Daniel Walker <danwalker@gogreenstar.com>
     Sent: Monday, December 3, 2018 10:25 AM
     To: Stewart, Melissa <mstewart@hollistercs.com>
     Subject: 110 Edison Funding update



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     Can you confirm, and if so, can we pick up?



     Thanks,



     Dan




     --

     Dan Walker

     Chief Financial Officer

     Green Star Energy

     203-460-6814 Cell
     888-500-6246
     www.GoGreenStar.com

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    Dan Walker

    Chief Financial Officer

    Green Star Energy

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    888-500-6246
    www.GoGreenStar.com



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    Dan Walker

    Chief Financial Officer

    Green Star Energy

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    888‐500‐6246
    www.GoGreenStar.com



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                 5                  Document 1-2 Filed 03/29/21 Page 73 of 114 PageID:
                                                                      RECEIVED  NYSCEF:91
                                                                                        02/26/2021




   From:                                                                                                                      Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                      Friday, March 22, 2019 11:24 AM
   To:                                                                                                                        Pasquale Suriano
   Cc:                                                                                                                        Joe Novella
   Subject:                                                                                                                   Checking in



   Good morning Pasquale

   Just checking in to see if you were able to release our Feb req for 101K?
   Thank you for your help.


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
   888‐500‐6246
   www.GoGreenStar.com
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                                                                      RECEIVED  NYSCEF:92
                                                                                        02/26/2021




   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Friday, December 14, 2018 12:59 PM
   To:                                                                                                                         Ed; MichaelM@edprop.com; Mazen Batarseh; Pasquale Suriano
   Cc:                                                                                                                         Tom Esposito; Daniel Walker
   Subject:                                                                                                                    Re: 110 Edison Funding update

    Flag Status:                                                                                                               Flagged




   I'm just not getting paid on this job and the we've been in idle mode for
   two months. I'm going to pull my team for a few weeks until there is
   funding and permits.

   Thanks,
   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
        To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the I nternet.




   On Wed, Dec 12, 2018 at 12:50 PM Joe Novella <joenovella@gogreenstar.com> wrote:
    Michael,
    I was just informed by Hollister that we will not be paid until the end of the year. What happened to this week?

     Joe

     On Thu, Dec 6, 2018, 15:40 Pasquale Suriano <psuriano@edprop.com wrote:

      Thanks.




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                                                                                        02/26/2021
     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 100 Washington St. | Newark, NJ 07102

     Direct (973) 849‐2613




     From: Michael Marzouk
     Sent: Thursday, December 6, 2018 3:21 PM
     To: Pasquale Suriano <psuriano@edprop.com>; Joe Novella <joenovella@gogreenstar.com>
     Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
     <danwalker@gogreenstar.com>
     Subject: RE: 110 Edison Funding update




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     Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
     <danwalker@gogreenstar.com>
     Subject: RE: 110 Edison Funding update




     Michael,
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                 5                  Document 1-2 Filed 03/29/21 Page 76 of 114 PageID:
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                                                                                        02/26/2021
     Please look into this and give me an answer today.

     Thank you.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 100 Washington St. | Newark, NJ 07102

     Direct (973) 849‐2613




     From: Joe Novella <joenovella@gogreenstar.com>
     Sent: Thursday, December 6, 2018 12:07 PM
     To: Pasquale Suriano <psuriano@edprop.com>
     Cc: Tom Esposito <tomesposito@gogreenstar.com>; Mazen Batarseh <mazenb@edprop.com>; Daniel Walker
     <danwalker@gogreenstar.com>; Michael Marzouk <MichaelM@edprop.com>
     Subject: Re: 110 Edison Funding update




     Pasquale,


     We are not being communicated with forthrightly from Hollister. We
     submitted a "pencil req" middle of October for $67,000 and subsequently
     submitted an RFP for $109,893 which was approved on 11-12-18.
     Hollister's account manager Melissa Stewart has advised my CFO that
     they have not been funded from Edison however Ed Marchese told me
     personaly two weeks ago we would have payment on 12-1-18 (last
     week). We have not recieved any payments since the contract deposit.


     Please advise,
     Joe
                                                            3
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                                                                      RECEIVED  NYSCEF:95
                                                                                        02/26/2021




     Joe Novella
     CEO, Founder

     203-947-9335

     Building Scientist




     On Tue, Dec 4, 2018 at 2:49 PM Pasquale Suriano <psuriano@edprop.com> wrote:

      Be sure that Hollister pays promptly and gives releases from subs for all requisitions.



      Pasquale Suriano | Executive Vice President of Engineering & Construction

      Edison Properties | 100 Washington St. | Newark, NJ 07102

      Direct (973) 849‐2613




      From: Tom Esposito <tomesposito@gogreenstar.com>
      Sent: Tuesday, December 4, 2018 2:44 PM
      To: Pasquale Suriano <psuriano@edprop.com>; Mazen Batarseh <mazenb@edprop.com>; Joe Novella
      <joenovella@gogreenstar.com>; Daniel Walker <danwalker@gogreenstar.com>
      Subject: Fwd: 110 Edison Funding update




      Gentlemen




                                                                4
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NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
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      Hollister is holding up payment on us. We gave them a pencil req in October and another one in
      November. Please read the email, below from Melissa in their office. Please let me know if you can push
      them to pay us.

      Thank you,




      Tom Esposito

      Director of Business Development

      Green Star Energy

      203‐770‐5252 Direct
      888‐500‐6246
      www.GoGreenStar.com




      483 Federal Road Brookfield, CT 06804




      ---------- Forwarded message ---------
      From: Daniel Walker <danwalker@gogreenstar.com>
      Date: Mon, Dec 3, 2018 at 10:43 AM
      Subject: Fwd: 110 Edison Funding update
      To: Joe Novella <joenovella@gogreenstar.com>, Tom Esposito <tomesposito@gogreenstar.com>



      Just wanted to pass this along - doesn't llok like 110 Edison money is coming this week.

      ---------- Forwarded message ---------
      From: Stewart, Melissa <mstewart@hollistercs.com>
      Date: Mon, Dec 3, 2018 at 10:37 AM
      Subject: RE: 110 Edison Funding update
      To: Daniel Walker <danwalker@gogreenstar.com>
      Cc: Marchese, Ed <emarchese@hollistercs.com>, Pierce, Dayton <dpierce@hollistercs.com>, Marrone,
      Larisa <lmarrone@hollistercs.com>



      Daniel,
                                                          5
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                            INDEX NO. 651345/2021
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                                                                                        02/26/2021



      I was not informed by Ed that any payment was to be released, the $109K is a part of November billing for
      which we have not been paid yet.



      Melissa Stewart

      Project Accountant

      Hollister Construction Services, LLC

      339 Jefferson Road

      Parsippany, NJ 07054

      P: 201-393-7500

      M: 201-452-7218

      F: 201-393-8907

      mstewart@hollistercs.com

      www.hollistercs.com



      TEAM “Together Everyone Achieves More”




      From: Daniel Walker <danwalker@gogreenstar.com>
      Sent: Monday, December 3, 2018 10:29 AM
      To: Stewart, Melissa <mstewart@hollistercs.com>
      Subject: Re: 110 Edison Funding update



      The amount is $109,893, and was submitted through procore around November 12th.



      Thanks,
                                                         6
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NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
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                                                                                        02/26/2021



      Dan



      On Mon, Dec 3, 2018 at 10:26 AM Stewart, Melissa <mstewart@hollistercs.com> wrote:

       Daniel,



       What billing are you looking for payment on?



       Melissa Stewart

       Project Accountant

       Hollister Construction Services, LLC

       339 Jefferson Road

       Parsippany, NJ 07054

       P: 201-393-7500

       M: 201-452-7218

       F: 201-393-8907

       mstewart@hollistercs.com

       www.hollistercs.com



       TEAM “Together Everyone Achieves More”



       Error! Filename not specified. Error! Filename not specified.




       From: Daniel Walker <danwalker@gogreenstar.com>
       Sent: Monday, December 3, 2018 10:25 AM

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FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                            INDEX NO. 651345/2021
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NYSCEF DOC. NO.2:21-cv-18267-EP-JSA
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                                                                      RECEIVED  NYSCEF:99
                                                                                        02/26/2021

       To: Stewart, Melissa <mstewart@hollistercs.com>
       Subject: 110 Edison Funding update



       Good morning Melissa



       Ed Marchese mentioned that there would be a check available early this week for our project on 110
       Edison. Can you confirm, and if so, can we pick up?



       Thanks,



       Dan




       --

       Dan Walker

       Chief Financial Officer

       Green Star Energy

       203-460-6814 Cell
       888-500-6246
       www.GoGreenStar.com



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       483 Federal Road Brookfield, CT 06804




      --

      Dan Walker
                                                         8
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      Chief Financial Officer

      Green Star Energy

      203-460-6814 Cell
      888-500-6246
      www.GoGreenStar.com



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      --

      Dan Walker

      Chief Financial Officer

      Green Star Energy

      203‐460‐6814 Cell
      888‐500‐6246
      www.GoGreenStar.com




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                                                                                        02/26/2021




   From:                           Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                           Wednesday, February 06, 2019 1:13 PM
   To:                             Mazen Batarseh; Pasquale Suriano
   Cc:                             Joe Novella; Chris Puleo; Bruce Benson; Daniel Walker
   Subject:                        We need your asssistance to complete 110
   Attachments:                    S2221677-0001_9746 (1).pdf

    Flag Status:                   Flagged



    Pasquale and Mazen

   We need some help. When we last meet face to face at the controls meeting I mentioned that we needed your
   assistance getting the balance of the equipment so we can finish your offices. Because of the payment issues we
   have experienced with Hollister our cash flows have been destroyed on this job.

   We need to use the Edison credit line with LSK the Mitsubishi supplier. Green Star doesn't have a credit line
   with LSK. LSK has all of the Mitsubishi equipment waiting for either payment or a credit line to secure the
   delivery for the balance of the 3rd floor of 110 Edison. They suggested that Edison issue a PO for the balance of
   the equipment with terms of 30 days that would be the responsibility of Green Star for payment after 30
   days. This accommodation for Green Star, by Edison, would allow us to get all of the equipment delivered and
   installed within 5 1/2 to 6 weeks of delivery. The only thing we would need to commission the system would
   be the permanent power supplies to the condensers and power to all the indoor units.

   We need to finish your offices asap so we can move on to other work in your building, if you award us the
   work, and to our Stewart hotel project starting at the beginning of April for the next 1 1/2 year project. Even
   with our hotel project we will still have a dedicated crew of 5 to 6 installers and technicians for your Newark
   work as well as another crew of 7 to 8 for your mini storage projects.

   I have attached the final invoice for Mitsubishi equipment we need to complete your project. If the cash flows
   had been more consistent from Hollister we would NOT be making this request.

   Thank you the business gentlemen. We are dedicated to providing value and excellence to our best client,
   Edison properties.

   Please call me to discuss.


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
   888‐500‐6246
   www.GoGreenStar.com




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                                                                       of 114 PageID:
                                                                               NYSCEF:103
                                                                                        02/26/2021




   From:                             Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                             Friday, March 22, 2019 2:00 PM
   To:                               Pasquale Suriano
   Cc:                               Joe Novella; Michael Marzouk; Greg Maser; Mazen Batarseh
   Subject:                          Re: Checking in



   Thank you Pasquale. Have a great weekend. TOM

   Sent from my iPhone

   On Mar 22, 2019, at 1:35 PM, Pasquale Suriano <psuriano@edprop.com> wrote:

          The Hollister req shows a $225k +/‐ billed in February. We are deducting $130,000 +/‐ to pay Luce and
          the balance will be paid to you.
          Michael – deduct the balance going to Hollister and pay Green Star directly.
          Thanks.

          Pasquale Suriano | Executive Vice President of Engineering & Construction
          Edison Properties | 100 Washington St. | Newark, NJ
          07102
          Direct (973) 849‐2613
          <image001.jpg>


          From: Tom Esposito <tomesposito@gogreenstar.com>
          Sent: Friday, March 22, 2019 11:24 AM
          To: Pasquale Suriano <psuriano@edprop.com>
          Cc: Joe Novella <joenovella@gogreenstar.com>
          Subject: Checking in

          Good morning Pasquale

          Just checking in to see if you were able to release our Feb req for 101K?
          Thank you for your help.


          Tom Esposito
          Director of Business Development
          Green Star Energy
          203‐770‐5252 Direct
          888‐500‐6246
          www.GoGreenStar.com




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                                                                                        02/26/2021




   From:                                                                                                                      Tom Esposito <tomesposito@gogreenstar.com>
   Sent:                                                                                                                      Thursday, March 28, 2019 10:25 AM
   To:                                                                                                                        Pasquale Suriano; Michael Marzouk
   Cc:                                                                                                                        Joe Novella; Greg Maser; Mazen Batarseh; Chris Puleo; Bruce Benson
   Subject:                                                                                                                   Re: Checking in



   Michael,

   Can we get a timetable for these funds to be released to Green Star and LSK?

   Please let me know asap.


   Tom Esposito
   Director of Business Development
   Green Star Energy
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   888‐500‐6246
   www.GoGreenStar.com
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    On Fri, Mar 22, 2019 at 2:00 PM Tom Esposito <tomesposito@gogreenstar.com> wrote:
     Thank you Pasquale. Have a great weekend. TOM

    Sent from my iPhone

    On Mar 22, 2019, at 1:35 PM, Pasquale Suriano <psuriano@edprop.com> wrote:

                                                                                         The Hollister req shows a $225k +/‐ billed in February. We are deducting $130,000 +/‐ to pay Luce and
                                                                                         the balance will be paid to you.

                                                                                         Michael – deduct the balance going to Hollister and pay Green Star directly.

                                                                                         Thanks.



                                                                                         Pasquale Suriano | Executive Vice President of Engineering & Construction

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                                                                                        02/26/2021
          Edison Properties | 100 Washington St. | Newark, NJ
          07102

          Direct (973) 849‐2613

          <image001.jpg>




          From: Tom Esposito <tomesposito@gogreenstar.com>
          Sent: Friday, March 22, 2019 11:24 AM
          To: Pasquale Suriano <psuriano@edprop.com>
          Cc: Joe Novella <joenovella@gogreenstar.com>
          Subject: Checking in




          Good morning Pasquale



          Just checking in to see if you were able to release our Feb req for 101K?

          Thank you for your help.




          Tom Esposito

          Director of Business Development

          Green Star Energy

          203‐770‐5252 Direct
          888‐500‐6246
          www.GoGreenStar.com




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                                                                                        02/26/2021




   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Monday, July 15, 2019 3:26 PM
   To:                                                                                                                         Pasquale Suriano; Mazen Batarseh
   Subject:                                                                                                                    110 Edison

    Flag Status:                                                                                                               Flagged



   Pasquale and Mazen,

   We have not received any payment from Hollister which put's us out three
   months since getting any payment on the project. Hollister is not providing
   much information either. This has become a financial hardship for us, can
   you please provide us with any information as to how this is going to
   ultimately be handled. The balance of contract is $236,418.

   Thanks,
   Joe

    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
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                                                                                        02/26/2021




   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Friday, June 14, 2019 3:51 PM
   To:                                                                                                                         Pasquale Suriano
   Subject:                                                                                                                    Re: 543 W 43 rd street it room HVAC unit



   I'm going by what Ming told me which is that he got a job in Newark from
   a company he met at the job site. My payroll was current at the end May,
   it's ironic that you would chastise me for not making payments when
   Edison Properties owes me hundreds of thousands of dollars.

   I don't want to fight Pasquale, I've emailed you in the past few weeks and
   spoke to Joe P. several times. I'm trying to be 100% above board with UA
   and Edison. I told you when we took the Ironside job that we were too
   busy and did not have the finances to take on another $1.1MM in work. I
   knew that the collective cash demand especially at the end of the jobs
   would be too much.

   I'm sorry but this is a crushing problem for me and my employees at this
   time.

   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
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   On Fri, Jun 14, 2019 at 3:32 PM Pasquale Suriano <psuriano@edprop.com> wrote:



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    Do not make accusations, especially in writing, you know nothing about! Maybe your employees would have stayed
    with you if you paid them.



    Pasquale Suriano | Executive Vice President of Engineering & Construction

    Edison Properties | 100 Washington St. | Newark, NJ 07102

    Direct (973) 849‐2613




    From: Joe Novella <joenovella@gogreenstar.com>
    Sent: Friday, June 14, 2019 3:05 PM
    To: Bryan Antoncic <bryan@uabuildersgroup.com>
    Cc: Joe Pipia <JoeP@edprop.com>; Tom Esposito <tomesposito@gogreenstar.com>; bradleyd@uabuildersgroup.com;
    Pasquale Suriano <psuriano@edprop.com>; Tom Kwon <TomK@ManhattanMiniStorage.com>; Satyam Shah
    <SatyamS@ManhattanMiniStorage.com>
    Subject: Re: 543 W 43 rd street it room HVAC unit




    No we don't, unfortunately our lead Mitsubishi service tech was poached
    by either Edison or one of their contractors at our Ironside Newark job
    with them a couple of weeks ago. The only other Mitsubishi tech we have
    in on vacation so we can't do en emergency call.


    Sorry,
    Joe




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    Joe Novella
    CEO, Founder

    203-947-9335

    Building Scientist




    On Fri, Jun 14, 2019 at 3:02 PM Bryan Antoncic <bryan@uabuildersgroup.com> wrote:

     Joe/Tom,

     Do you have anyone available in the area that can service this unit?

     Thank you,

     Bryan Antoncic

     > On Jun 14, 2019, at 2:50 PM, Joe Pipia <JoeP@edprop.com> wrote:
     >
     > Brad
     > Please be advised that the IT room at 543 W 43rd street is not working and requires immediate attention .
     > The equipment in the IT is very expensive and requires a temp of 72 degrees to be maintained at all times.
     > Please send a service tech ASAP.
     >
     >
     >
     > Joseph Pipia
     > Edison Construction Management
     > 188 Ludlow street
     > New York NY 10002
     > Cell # 516 457-4772
     >




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                                                                               NYSCEF:111
                                                                                        02/26/2021




   From:                               Michael Marzouk <MichaelM@edprop.com>
   Sent:                               Thursday, March 28, 2019 3:10 PM
   To:                                 Tom Esposito; Pasquale Suriano
   Cc:                                 Joe Novella; Greg Maser; Mazen Batarseh; Chris Puleo; Bruce Benson
   Subject:                            RE: Checking in


   Checks will be ready Monday.

   From: Tom Esposito <tomesposito@gogreenstar.com>
   Sent: Thursday, March 28, 2019 10:25 AM
   To: Pasquale Suriano <psuriano@edprop.com>; Michael Marzouk <MichaelM@edprop.com>
   Cc: Joe Novella <joenovella@gogreenstar.com>; Greg Maser <GregM@edprop.com>; Mazen Batarseh
   <mazenb@edprop.com>; Chris Puleo <chrispuleo@gogreenstar.com>; Bruce Benson <brucebenson@gogreenstar.com>
   Subject: Re: Checking in

    Michael,

    Can we get a timetable for these funds to be released to Green Star and LSK?

    Please let me know asap.


   Tom Esposito
   Director of Business Development
   Green Star Energy
   203‐770‐5252 Direct
   888‐500‐6246
   www.GoGreenStar.com




   483 Federal Road Brookfield, CT 06804




    On Fri, Mar 22, 2019 at 2:00 PM Tom Esposito <tomesposito@gogreenstar.com> wrote:
    Thank you Pasquale. Have a great weekend. TOM

    Sent from my iPhone

    On Mar 22, 2019, at 1:35 PM, Pasquale Suriano <psuriano@edprop.com> wrote:



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                                                                                        02/26/2021
          The Hollister req shows a $225k +/‐ billed in February. We are deducting $130,000 +/‐ to pay Luce and
          the balance will be paid to you.

          Michael – deduct the balance going to Hollister and pay Green Star directly.

          Thanks.



          Pasquale Suriano | Executive Vice President of Engineering & Construction

          Edison Properties | 100 Washington St. | Newark, NJ
          07102

          Direct (973) 849‐2613

          <image001.jpg>




          From: Tom Esposito <tomesposito@gogreenstar.com>
          Sent: Friday, March 22, 2019 11:24 AM
          To: Pasquale Suriano <psuriano@edprop.com>
          Cc: Joe Novella <joenovella@gogreenstar.com>
          Subject: Checking in




          Good morning Pasquale



          Just checking in to see if you were able to release our Feb req for 101K?

          Thank you for your help.




          Tom Esposito

          Director of Business Development

          Green Star Energy

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          888‐500‐6246
          www.GoGreenStar.com

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   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Wednesday, July 17, 2019 2:12 PM
   To:                                                                                                                         Pasquale Suriano
   Cc:                                                                                                                         Mazen Batarseh; Michael Marzouk; Robert Gerardo
   Subject:                                                                                                                    Re: FW: 110 EDISON JOB

    Flag Status:                                                                                                               Flagged



   Pasquale,
   Thats fine, are the ERV's in operation, is the system working okay?

   I don't know what other back charges you have but including the
   Mitsubishi equipment credit our final req is $236,000. Is there any way we
   could get even a small partial payment?

   Thanks,
   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
        To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the I nternet.




   On Wed, Jul 17, 2019 at 12:45 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     This invoice will be paid directly and backcharged to your account, + mark up for processing.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

     Direct (973) 849‐2613
                                                                                                                                                      1
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                         INDEX NO. 651345/2021
        Case
NYSCEF DOC.   2:21-cv-18267-EP-JSA
            NO.  5                 Document 1-2 Filed 03/29/21 Page 97RECEIVED
                                                                       of 114 PageID:
                                                                               NYSCEF:115
                                                                                        02/26/2021




    From: Kevin Gallen <kevin@gallenengineering.com>
    Sent: Tuesday, July 16, 2019 4:40 PM
    To: Pasquale Suriano <psuriano@edprop.com>; Robert Gerardo <RobertG@IronsideNewark.com>
    Subject: Fwd: 110 EDISON JOB




    Pasquale,



    Per our conversat ion, see below and at t ached.




    Kevin Gallen, PE

    President

    Gallen Engineering LLC

    ( 917) 428- 6396

    kevin@gallenengineering.com

    www.gallenengineering.com



    * * * Office Hours: 9: 30am - 4: 30pm , Monday- Friday * * *



    ---------- Forwarded message ---------
    From: Herb Marone <hmarone@airequipmentllc.com>
                                                        2
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                              INDEX NO. 651345/2021
        Case
NYSCEF DOC.   2:21-cv-18267-EP-JSA
            NO.  5                 Document 1-2 Filed 03/29/21 Page 98RECEIVED
                                                                       of 114 PageID:
                                                                               NYSCEF:116
                                                                                        02/26/2021

    Date: Thu, Jul 11, 2019 at 10:17 AM
    Subject: 110 EDISON JOB
    To: tim.greiner@am.jll.com <tim.greiner@am.jll.com>, frank.recine@am.jll.com <frank.recine@am.jll.com>
    Cc: kevin@gallenengineering.com <kevin@gallenengineering.com>



    Good morning,

    Back In April of this year we supplied 2 ERV units to Greenstar Energy Solutions for a job located at 110
    Edison Place (see attached invoice). We are still owed a balance of $11,677.23

    I just learned that Greenstar Energy Solutions is owed hundreds of thousands of dollars for this job.

    We are a small supplier out of CT and cannot wait 90 plus days to get paid. We will have no choice but to put
    a lien on the property if we are not paid the balance due.

    Any assistance you can provide in this matter would be greatly appreciated.

    Thank you,
    Herb


    Herbert Marone
    Controller
    DIRECT LINE: 860‐709‐9744
    hmarone@airequipmentllc.com




                                                           3
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                                                                                          INDEX NO. 651345/2021
        Case
NYSCEF DOC.   2:21-cv-18267-EP-JSA
            NO.  5                 Document 1-2 Filed 03/29/21 Page 99RECEIVED
                                                                       of 114 PageID:
                                                                               NYSCEF:117
                                                                                        02/26/2021




   From:                                                                                                                       Joe Novella <joenovella@gogreenstar.com>
   Sent:                                                                                                                       Wednesday, July 17, 2019 2:37 PM
   To:                                                                                                                         Pasquale Suriano
   Subject:                                                                                                                    Re: FW: 110 EDISON JOB

    Flag Status:                                                                                                               Flagged



    We absolutely did not abandon the project, The entire VRF system was
   fully operational, we had one day of work on May 30th to install the ERV
   dampers and my crew was there THAT morning when we were kicked off
   the job without notice. Even after this we cooperated with any requests
   made and were available to perform additional work. Nobody from Edison
   ever gave us a punch list or comminicated in any way.

   I told the ERV supplier to contact you directly as we don't have any
   working capital at this time.

   Joe


    Joe Novella
    CEO, Founder
    203-947-9335
    Building Scientist
        To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the I nternet.




   On Wed, Jul 17, 2019 at 2:29 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     You’re kidding right? You abandoned the project, left us with a pile of ____ to complete, we’re getting unpaid invoices
     that we had no knowledge of, etc. What us is out there??? Do you need to hear more?



     Pasquale Suriano | Executive Vice President of Engineering & Construction

                                                                                                                                                      1
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                       INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                5                 Document 1-2 Filed 03/29/21 Page 100 of 114 PageID:
                                                                     RECEIVED  NYSCEF:118
                                                                                       02/26/2021
    Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

    Direct (973) 849‐2613




    From: Joe Novella <joenovella@gogreenstar.com>
    Sent: Wednesday, July 17, 2019 2:12 PM
    To: Pasquale Suriano <psuriano@edprop.com>
    Cc: Mazen Batarseh <mazenb@edprop.com>; Michael Marzouk <MichaelM@edprop.com>; Robert Gerardo
    <RobertG@IronsideNewark.com>
    Subject: Re: FW: 110 EDISON JOB




    Pasquale,
    Thats fine, are the ERV's in operation, is the system working okay?


    I don't know what other back charges you have but including the
    Mitsubishi equipment credit our final req is $236,000. Is there any way
    we could get even a small partial payment?


    Thanks,
    Joe




                                                             2
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                     INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                5                 Document 1-2 Filed 03/29/21 Page 101 of 114 PageID:
                                                                     RECEIVED  NYSCEF:119
                                                                                       02/26/2021

    Joe Novella
    CEO, Founder

    203-947-9335

    Building Scientist




    On Wed, Jul 17, 2019 at 12:45 PM Pasquale Suriano <psuriano@edprop.com> wrote:

     This invoice will be paid directly and backcharged to your account, + mark up for processing.



     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

     Direct (973) 849‐2613




     From: Kevin Gallen <kevin@gallenengineering.com>
     Sent: Tuesday, July 16, 2019 4:40 PM
     To: Pasquale Suriano <psuriano@edprop.com>; Robert Gerardo <RobertG@IronsideNewark.com>
     Subject: Fwd: 110 EDISON JOB




     Pasquale,



     Per our conversat ion, see below and at t ached.

                                                               3
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                              INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                5                 Document 1-2 Filed 03/29/21 Page 102 of 114 PageID:
                                                                     RECEIVED  NYSCEF:120
                                                                                       02/26/2021




     Kevin Gallen, PE

     President

     Gallen Engineering LLC

     ( 917) 428- 6396

     kevin@gallenengineering.com

     www.gallenengineering.com



     * * * Office Hours: 9: 30am - 4: 30pm , Monday- Friday * * *



     ---------- Forwarded message ---------
     From: Herb Marone <hmarone@airequipmentllc.com>
     Date: Thu, Jul 11, 2019 at 10:17 AM
     Subject: 110 EDISON JOB
     To: tim.greiner@am.jll.com <tim.greiner@am.jll.com>, frank.recine@am.jll.com <frank.recine@am.jll.com>
     Cc: kevin@gallenengineering.com <kevin@gallenengineering.com>



     Good morning,

     Back In April of this year we supplied 2 ERV units to Greenstar Energy Solutions for a job located at 110
     Edison Place (see attached invoice). We are still owed a balance of $11,677.23

     I just learned that Greenstar Energy Solutions is owed hundreds of thousands of dollars for this job.

     We are a small supplier out of CT and cannot wait 90 plus days to get paid. We will have no choice but to
     put a lien on the property if we are not paid the balance due.

     Any assistance you can provide in this matter would be greatly appreciated.

     Thank you,
     Herb


     Herbert Marone
     Controller

                                                           4
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                            INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                5                 Document 1-2 Filed 03/29/21 Page 103 of 114 PageID:
                                                                     RECEIVED  NYSCEF:121
                                                                                       02/26/2021
     DIRECT LINE: 860‐709‐9744
     hmarone@airequipmentllc.com




                                                5
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                            INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                6                 Document 1-2 Filed 03/29/21 Page 104 of 114 PageID:
                                                                     RECEIVED  NYSCEF:122
                                                                                       02/26/2021




                                 EXHIBIT E
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                      INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                6                 Document 1-2 Filed 03/29/21 Page 105 of 114 PageID:
                                                                     RECEIVED  NYSCEF:123
                                                                                       02/26/2021


                                                                               Joe Novella <joenovella@gogreenstar.com>



   Re: Green Star Payments
   1 message

   Joe Novella <joenovella@gogreenstar.com>                                                      Tue, Jul 28, 2020 at 8:29 AM
   To: Joe Pipia <JoeP@edprop.com>
   Cc: Pasquale Suriano <psuriano@edprop.com>, Lenny Figueroa <LennyF@edprop.com>
   Bcc: Laleh Hawa <hawa@cpsslaw.com>

     Joe,
     Who made the decision to have another company do Green Star's warranty work?

     Your "issues" list represents a few thousand dollars or warranty work, but Edison and
     UA are going to withhold $71,177.95 final payment?

     Please explain.

     Joe



     Joe Novella
     CEO, Founder
     203-947-9335
     Building Scientist




     On Mon, Jul 27, 2020 at 8:15 PM Joe Pipia <JoeP@edprop.com> wrote:

       Joe

       A ached is an email with just a few of the issues we’ve found by our in-house Tech Lenny not to men on the
       addi onal thousands dollars we are paying another subcontractor and the Mitsubishi team for all the back and
       forth that had to do properly startup and warrantee your work . We are now having to go back to the site to
       provide line lengths that Greenstar never provided or I should say never provided the correct info( Line lengths )
        in the DSB AS built submi ed to UA .

       You were contracted by UA so please communicate directly with UA as I’ve men oned in the past..

       Thank you !




       From: Pasquale Suriano <psuriano@edprop.com>
       Sent: Monday, July 27, 2020 11:01 AM
       To: Joe Novella <joenovella@gogreenstar.com>
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                       INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                6                 Document 1-2 Filed 03/29/21 Page 106 of 114 PageID:
                                                                     RECEIVED  NYSCEF:124
                                                                                       02/26/2021
      Cc: Joe Pipia <JoeP@edprop.com>; Victoria Morrison <VictoriaM@edprop.com>
      Subject: Re: Green Star Payments


      Joe,

      I’ll have to respond with “you’ve got to be kidding me!”

      1. Besides costing us over $250k to fix and complete Ironside that you left in a shambles (and still counting), you
      worked for hollister, who filed bankruptcy. If you have an issue, you need to make a claim w the bankruptcy courts.

      2. The same is basically true at 43rd street but Joe can fill in the financial details.

      Please do not reach out to me directly going forward. If you have any questions, please have your attorney reach out
      to our general counsel (cc’d here). There will be a substantial claim brought against your company when this all
      shakes out.

      Thank you.




      Get Outlook for iOS


      From: Joe Novella <joenovella@gogreenstar.com>
      Sent: Monday, July 27, 2020 10:33:27 AM
      To: Pasquale Suriano <psuriano@edprop.com>
      Cc: Joe Pipia <JoeP@edprop.com>
      Subject: Green Star Payments


      [CAUTION! EXTERNAL SENDER]

      Pasquale,
      I have reached out to Joe Pipia several times over the past several months regarding
      final payment for 543 West 47th St. and have been ignored. This job was completed
      10 months ago and the general contractor, UA, just informed me that Green Star will
      not be receiving final payment. Additionally Edison still owes me $220g on the
      Ironside project which was completed 14 months ago, as you know this has
      perpetuated a financial hardship for me, I want to know why payment has not been
      forthcoming and I'm demanding immediate resolution and final payment.


      Joe




      Joe Novella
      CEO, Founder
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                            INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                6                 Document 1-2 Filed 03/29/21 Page 107 of 114 PageID:
                                                                     RECEIVED  NYSCEF:125
                                                                                       02/26/2021
      203-947-9335


       Building   Scientist




      Green                   St
         ENERGY          SOLUTIONS
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                            INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                7                 Document 1-2 Filed 03/29/21 Page 108 of 114 PageID:
                                                                     RECEIVED  NYSCEF:126
                                                                                       02/26/2021




                                 EXHIBIT F
FILED: NEW YORK COUNTY CLERK 02/26/2021 06:50 PM                                                           INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                7                 Document 1-2 Filed 03/29/21 Page 109 of 114 PageID:
                                                                     RECEIVED  NYSCEF:127
                                                                                       02/26/2021


                                                                                   Joe Novella <joenovella@gogreenstar.com>



   543 W 43rd Street, NYC
   1 message

   Pasquale Suriano <psuriano@edprop.com>                                                Thu, Aug 6, 2020 at 9:40 AM
   To: Joe Novella <joenovella@gogreenstar.com>
   Cc: Joe Pipia <JoeP@edprop.com>, Bryan Antoncic <bryan@uagrp.com>, Pasquale Suriano <psuriano@edprop.com>


     Dear Mr. Novella,

     Pursuant to our conversation on Tuesday, August 4, 2020, Edison/UA is offering you a final settlement of $10,500 as full
     and final payment for all your alleged outstanding invoices on the above referenced project. This is contingent upon the
     satisfaction of a mechanics lien on the building filed by one of your suppliers, the full release and indemnification of both
     ownership and UA Builders against all claims, expenses, etc. and handing over a complete and accurate DSB file that we
     need to accurately maintain and diagnose the HVAC systems in the future.

     As you were made aware of on our call, ownership has used our own in house mechanics and has brought in an outside
     HVAC contractor to complete and/or repair your work, that you abandoned, breaching your contractual obligations. A
     complete and thorough list of all of the work we performed that was your responsibility can be provided upon request.

     Please understand THAT THIS IS NOT A NEGOTIATION nor are we admitting any fault or negligence. Our accounting
     (UA + Edison) actually shows that you owe us money. This offer is merely an attempt to amicably settle our differences
     and move on. Please advise by Monday 8/10/2020 if this proposal is acceptable. If not, we will pursue our contractual
     rights to move these matters forward.

     Thank you.




     Pasquale Suriano | Executive Vice President of Engineering & Construction

     Edison Properties | 110 Edison Place – Suite 300 | Newark, NJ 07102

     Direct (973) 849-2613
FILED: NEW YORK COUNTY CLERK 03/19/2021 11:45 AM                                                                                                                                                    INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                12                Document 1-2 Filed 03/29/21 Page 110 of 114 PageID:
                                                                     RECEIVED  NYSCEF:128
                                                                                       03/19/2021
   SUPREME                 COURT                   OF THE                 STATE               OF NEW                YORK
   COUNTY                 OF NEW                  YORK
                                                         ------------------------------X
   GREEN             STAR          ENERGY                      SOLUTIONS,                         LLC,


                               Plaintiff(s),                                                                                                    Index        No.     651345/2021


              -against-                                                                                                                         AFFIDAVIT                    OF SERVICE


   EDISON              PROPERTIES,                            LLC,          et al,


                               Defendant(s).
                                 ______________                                                -------X

   STATE            OF     NEW YORK                                 )
                                                                        S.S.:

   COUNTY                 OF NEW                  YORK)



                               RICARDO                       DELPRATT,                                       duly    sworn,           deposes          and     says     that     he is over       the      age     of     eighteen
                                                                                               being


   years,      is employed                   by        the    attorney              service,           METRO             ATTORNEY                       SERVICE               INC.,      and    is not     a party         to this


   action.

                                                              10*                                                                                                               deponent         served          a true                of
                               That         on         the               day      of    March,            2021,      at approximately                     12:32        PM,                                                  copy


   the     Summons,              Complaint                    and         Notice         of     Electronic            Filing          upon      JOE      PIPIA          at    188     Ludlow       Street,        Apt.      3A,      New


               New        York,                                                                        and                     the     same       with       JOE       PIPIA          at that   address.          At      the   time        of
   York,                                    by     personally                   delivering                     leaving


                    deponent                asked            JOE        PIPIA          whether            he is in active              military          service        or dependent             upon        someone            in active
   service,


                    service           for        the     United            States        of     America             or for      the    State      in     any       capacity         whatever       and     received             a
   military


   negative           reply.


                               JOE          PIPIA            is a white                male,      approximately                  68     years      of     age,       stands      approximately               6 feet       0 inches


   tall,     weighs        approximately                           230      pounds             with       black      and       gray     hair.




    RICARDO               DELPRATT                            #2094495


   Sworn           to before          me this
   11*
             day     of   M arch ' 2021
                                                                                                                                                         EVAN        COHAN
                                                                                                                         NOTARY          PUBLIC          &
                                                                                                                                                               ATTORNEY
                                                                                                                                                          AT LAW
                                                                                                                                                  NO.             OF NY
                                 //                                                                                                         02004998577
                                                                                                                             QUALIFIED    IN
                                                                                                                                              ROCKLAND
                                                                                                                         CERTIRCATE                       COUNTY
                                                                                                                                       RLED IN
                                                                                                                                                   NEW YORK
           TARY           PU5LIC                                                                                                                              COUNTY

                                                                                                                                                                                          20h
                                                                                                                          COMMISSION
                                                                                                                                         EXPIRES     JUNE 29,




   Metro                        Service            Inc. 305                               7th FlOOr New              York      New 1York          10007        212.822.1421              NYC DCA # 1320502
              Attorney                                                  Broadway                                       1       of
FILED: NEW YORK COUNTY CLERK 03/19/2021 11:45 AM                                                                                                                                                    INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                10                Document 1-2 Filed 03/29/21 Page 111 of 114 PageID:
                                                                     RECEIVED  NYSCEF:129
                                                                                       03/19/2021




       SUPREME                COURT  OF THE                              STATE              OF NEW YORK
       COUNTY                OF NEW YORK


       GREEN             STAR             ENERGY               SOLUTIONS,                         LLC,


                                                                                           Plaintiff,
                                                                                                                                            Index         No.:       651345/2021


                                        -against-                                                                                           AFFIDAVIT                  OF SERVICE



       EDISON                PROPERTIES,                       LLC,        ET       AL.,


                                                                                           Defendants.




       COUNTY                OF ALBANY                    SS:
       STATE           OF NEW YORK


       Jeffrey         Teitel        being       duly       swom,            deposes               and      says         that    he        is over        the       age      of eighteen             years,       is not     a

       party      to this          action       and       is acting            as        agent      of METRO                  ATTORNEY                     SERVICE               INC.


       That      on     the        10th    day      of March,              2021            at approximately                     the     time       of     11:30        AM      at the       office      of the

       Secretary              of State,          of the        State         of New              York,      in the   City         of Albany,                New        York,      depcñêñt              personally
       served          the      Summons,                Complaint                and        Notice          of Electronic            Filing on UA                     BUILDERS                CORP.            by
       delivering             and      leaving          with      Colleen                Banahan,            an     agent        of the Secretary                         of State,     of the         State          of New

       York,      two        (2)    true copies                therscf          and        at the        time      of making               such         service            deponent          paid      said      Secretary
       of State         a fee        of forty          dollars.          That            said     service          was        made         pursuant               to section          306     of the      Busiñêss
       Corporation                 Law.


       Deponent               further         states       that       he     knew           the     person          so     served           as    aforesaid                to be the        individual           on the
       Office         of the        Secretary            of State            of New              York,      duly     authorized                  to accept            such      service        on      behalf          of the
       said      defendant.


       Colleen          Banahan               is a white           female,                apprcximately                  40     years        of age,              stands      5 feet        7 inches          tall,    weight

       approximately                    225     pounds            with       brown           hair.




       Sworn          to before            me this          10th         day        of
       March,          2021




       Ann       M.     Malone                                                                                                        Je                Tiiitel

       Notary          Public,          State       of New            York
       Qualified       in Albany                 County
       No.       01MA6410748
       Commission                   Expires            November                 02,       2024




                                                                                                                1 of 1
FILED: NEW YORK COUNTY CLERK 03/19/2021 11:45 AM                                                                                                                                              INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                9                 Document 1-2 Filed 03/29/21 Page 112 of 114 PageID:
                                                                     RECEIVED  NYSCEF:130
                                                                                       03/19/2021




       SUPREME                  COURT                OF THE           STATE                OF NEW YORK
       COUNTY                OF NEW YORK


       GREEN             STAR            ENERGY              SOLUTIONS,                           LLC,


                                                                                           Plaintiff,
                                                                                                                                           Index        No.:      651345/2021


                                        -against-                                                                                          AFFIDAVIT               OF SERVICE



       EDISON                PROPERTIES,                    LLC,          ET        AL.,


                                                                                           Defendants.




       COUNTY                OF ALBANY                    SS:
       STATE           OF NEW YORK


       Jeffrey         Teitel      being          duly     sworn,          deposes                  and      says        that    he     is over         the     age      of eighteen              years,       is not      a

       party      to this        action          and      is acting            as        agent          of METRO              ATTORNEY                      SERVICE           INC.


       That      on     the      10th      day       of March,            2021             at approximately                     the     time      of    11:30      AM       at the       office      of the

       Secretary              of State,          of the      State         of New                York,      in the   City         of Albany,                New     York,      dep0ñeñt              personally
       served          the      Summons,                 Complaint              and         Notice          of Electicñic               Filing         on    EDISON           CONSTRUCTION
       MANAGEMENT,                             LLC  by delivering                         and       leaving        with       Colleen           Banahan,            an    agent         of the      Secretary             of

       State,         of the      State         of New York,      two       (2)                   true copies             thereof          and     at the        time       of making         such         service
       deponent              paid       said      Secretary        of State     a fee                      of forty       dollars.          That        said      service       was       made         pursuant            to
       section         303       of the         Limited     Liability    Company                            Law.


       Deponent               further          states      that     he     knew             the         person      so     served          as    aforesaid             to be    the      individual           on    the
       Office         of the        Secretary             of State         of New                York,      duly      authorized                to accept          such       service       on      behalf         of the
       said      defendant.


       Colleen          Banahan                is a white          feñiale,               approximately                  40     years       of age,           stands        5 feet      7 inches           tall,   weight

       approximately                    225      pounds           with     brown                hair.




       Sworn          to before            me this          10th         day        of
       March,          2021




       Ann       M.     Malone                                                                                                        Je         y Teitel
       Notary          Public,          State        of New         York
       Qualified             in Albany            County
       No.       01MA6410748
       Commission                   Expires             November               02,        2024




                                                                                                                 1 of 1
FILED: NEW YORK COUNTY CLERK 03/19/2021 11:45 AM                                                                                                                                                  INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
                8                 Document 1-2 Filed 03/29/21 Page 113 of 114 PageID:
                                                                     RECEIVED  NYSCEF:131
                                                                                       03/19/2021




      SUPREME                     COURT               OF THE             STATE               OF NEW YORK
       COUNTY                  OF NEW YORK


       GREEN                 STAR           ENERGŸ               SOLUTIONS,                         LLC,


                                                                                             Plaintiff,
                                                                                                                                             Index      No.:     651345/2021


                                          -against-                                                                                          AFFIDAVIT             OF SERVICE



       EDISON                 PROPERTIES,                        LLC,        ET       AL,


                                                                                             Defendants.




       COUNTY                  OF ALBANY                   SS:
       STATE             OF NEW YORK


       Jeffrey           Teitel        being       duly sworn,                 deposes               and      says         that    he     is over       the     age      of eighteen              years,       is not      a

       party       to this           action       and is acting                  as        agent      of METRO                  ATTORNEY                   SERVICE           INC.


       That        on     the        10th    day      of March,              2021            at approximately                     the     time       of 11:30      AM at the             office      of the

       Secretary                of State,           of the       State         of New           York,   in the         City         of Albany,             New     York,       deponent              perscñally
       served            the      Summons,                Complaint                and        Notice          of Electronic               Filing      on    EDISON           PROPERTIES,                       LLC      by
       delivering               and       leaving         with      Colleen                Banahan,            an     agent        of the          Secretary          of State,         of the      State          of New

       York,        two        (2)    true      copies           thereof          and        at the        time      of making               such     service          depcñent          paid       said      Secretary
       of State                  of forty
                             a fee          dcliars.                       That            said     service          was  made               pursuant          to section         303     of the       Limited

       Liability          Company       Law.


       Depcñêñt                 further         states       that       he     knew           the     person          so     served          as     aforesaid          to be      the    individual           on     the
       Office           of the        Secretary            of State            of New              York,      duly     authorized                 to accept       such      service         on      behalf          of the
       said      defendant.


       Colleen               Banahan            is a white           female,                approximately                  40     years       of age,         stands      5 feet        7 inches           tall,    wsight

       approximately                      225      pounds           with       brown           hair.




       Swom             to     before        me this          10th         day        of
       March,            2021




       Ann         M.     Malone                                                                                                        Je            Teitel

       Notary            Public,          State       of New            York
       Qualified               in Albany            County
       No.       01MA6410748
       Commission                     Expires            Novsraber                02,       2024




                                                                                                                     1 of 1
FILED: NEW YORK COUNTY CLERK 03/19/2021 11:45 AM                                                                                                                                            INDEX NO. 651345/2021
        CaseNO.
NYSCEF DOC.  2:21-cv-18267-EP-JSA
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                                                                     RECEIVED  NYSCEF:132
                                                                                       03/19/2021


     SUPREME                 COURT              OF THE             STATE            OF NEW              YORK
     COUNTY                OF NEW               YORK
     ----------------------------------------------------------X

     GREEN            STAR           ENERGY                SOLUTIONS,                   LLC,


                                                                                                                                      Index     No.      651345/2021
                               Plaintiff(s),


                 -against-                                                                                                            AFFIDAVIT                  OF    SERVICE



      EDISON            PROPERTIES,                       LLC,       et al,


                               Defendant(s).
      ----------------------------------------------------------X
      STATE           OF     NEW          JERSEY             )
                                                                 S.S.:
      COUNTY                 OF OCEAN                         )



                                MARTIN                  EBERT,            being      duly       sworn,          deposes         and     says     that    he is over         the    age     of eighteen        years,       is


      an agent         of METRO                 ATTORNEY                     SERVICE               INC.,        and      is not       a party     to this        action.

                                                          13th                                                                                                     deponent        served      a true                of the
                                That       on the                  day     of March,            2021,        at approximately                   1:34     PM,                                               copy


      Summons,               Complaint            and Notice               of Electronic               Filing      upon      PASQUALE                    SURIANO              at 4 Wonderview                 Way,


      Lebanon,           New        Jersey,           by personally               delivering           and      leaving         the    same      with      PASQUALE                SURIANO              at that


      address.          At    the       time     of service,             deponent           asked       PASQUALE                      SURIANO            whether           he is in active         military       service


      or dependent              upon           someone            in active        military         service        for    the     United        States      of America            or for     the   State      in any


      capacity         whatever            and         received          a negative           reply.


                                PASQUALE                    SURIANO                  is a white          male,        approximately               65 years            of age,     stands     approximately             5


      feet     8 inches         tall,     weighs          approximately                160       pounds          with     black        and      gray     hair.




       MARTIN              EBERT


       Sworn         to before           me     this
       15th
               day     of March,               2021




       NCfTARY               PUBLIC

             THERESA             A. DINGMAN
        NOTARY PUBUC OF NEW JERSEY
                 Comm.          #       2f27754

          My Commission Exoires 4/15/2023



       Metro                        Service       Inc. 305 Broadway                 7th Floor          New York          New York        10007         212.822.1421          NYC DCA # 1320502
                  Attorney



                                                                                                                1 of 1
